                   IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


KENNETH KOEPPLINGER and                      )
RHODA SMITH, on behalf of                    )
themselves and others similarly              )
situated,                                    )
                                             )
                   Plaintiffs,               )
                                             )
                   v.                        )             1:17cv995
                                             )
SETERUS, INC.,                               )
                                             )
                   Defendant.                )


                  MEMORANDUM OPINION AND RECOMMENDATION
                    OF UNITED STATES MAGISTRATE JUDGE

        This   case     comes   before    the    undersigned     United    States

Magistrate Judge for a recommendation on “Plaintiffs’ Motion for

Partial Summary Judgment” (Docket Entry 50) (“Plaintiffs’ Motion”),

“Defendant Seterus, Inc.’s Motion for Summary Judgement Against

Plaintiff Kenneth Koepplinger” (Docket Entry 54) (“Defendant’s

First Motion”), “Defendant Seterus, Inc.’s Motion for Summary

Judgement      Against     Plaintiff     Rhoda    Smith”     (Docket   Entry   55)

(“Defendant’s Second Motion”), and “Plaintiffs’ Motion for Class

Certification” (Docket Entry 52) (the “Certification Motion”). For

the reasons that follow, the Court should grant in part and deny in

part     Defendant’s       First   Motion,       Defendant’s     Second     Motion

(collectively,          “Defendant’s      Motions”),       Plaintiffs’      Motion

(collectively      with    Defendant’s     Motions,    the    “Summary    Judgment

Motions”), and the Certification Motion.




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                                BACKGROUND

     I.    Procedural Background

     Kenneth Koepplinger (“Koepplinger”) initiated this putative

class action against Seterus, Inc. (the “Defendant”), alleging

violations of the Fair Debt Collection Practices Act, 15 U.S.C.

§ 1692 et seq. (the “FDCPA”), the North Carolina Collection Agency

Act, N.C. Gen. Stat. § 58-70-1 et seq. (the “NCCAA”), the North

Carolina Debt Collection Act (the “NCDCA”), N.C. Gen. Stat. § 75-50

et seq., and/or the North Carolina Unfair and Deceptive Trade

Practices Act, N.C. Gen. Stat. § 75-1.1 et seq. (the “UDTPA”),

related to a series of debt collection letters that Defendant sent

to certain mortgagors in North Carolina. (See Docket Entry 16 (the

“Amended    Complaint”),   ¶¶   1-5,    18,   35.)    Maintaining        that

Koepplinger “fail[ed] to state a claim upon which relief can be

granted,” Defendant moved to dismiss this lawsuit under Rule

12(b)(6) of the Federal Rules of Civil Procedure (the “Rules”).

(Docket Entry 18 (the “Dismissal Motion”) at 1.)1       As Koepplinger’s

“Amended Complaint sufficiently alleges violations of the FDCPA,

NCCAA, NCDCA, and UDTPA to survive Rule 12(b)(6) dismissal,”

however, the undersigned United States Magistrate Judge recommended

that the Court deny the Dismissal Motion.       (Docket Entry 24 at 28.)

The Court (per United States District Judge Catherine C. Eagles)



     1   Citations herein to Docket Entry pages use the CM/ECF
footer’s pagination.

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adopted that recommendation, denying the Dismissal Motion.                        (See

Docket Entry 26 at 1.)

     The     Court      (per    the     undersigned)       thereafter    entered    a

Scheduling Order (see Text Order dated Nov. 27, 2018), which, inter

alia, established a deadline of April 1, 2019, for amending the

pleadings or adding parties (see Docket Entry dated Nov. 27, 2018).

Prior to that deadline, Koepplinger sought leave to amend his

pleading    to    add   Rhoda    Smith     (“Smith,”       and    collectively    with

Koepplinger, the “Plaintiffs”) as a plaintiff (see Docket Entry 36

at 1), a request to which Defendant consented (see Docket Entry 38

at 1).     Plaintiffs accordingly filed a Second Amended Complaint,

which raises the same general claims as Koepplinger’s earlier

complaints.       (Compare Docket Entry 39, with Docket Entry 16,

and Docket Entry 1.) After completing discovery, the parties filed

their     Summary    Judgment         Motions   and    Plaintiffs       filed    their

Certification Motion.          (See Docket Entries 50, 52, 54, 55.)

     II.    Factual History

     As relevant to the pending motions, the record reflects the

following:

     A.    Plaintiffs’ Allegations

     According to the Second Amended Complaint:

     Defendant “is a servicer of mortgages for residential housing

loans    owned,     backed,     or    controlled      by   [the    Federal   National

Mortgage Association (“Fannie Mae”)]” (Docket Entry 39, ¶ 19),


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including the mortgages on Plaintiffs’ homes (see id., ¶¶ 28, 42).2

Defendant obtained servicing rights to Plaintiffs’ mortgages “while

[they were] in a state of default,” rendering Defendant “a ‘debt

collector’ as that term is defined by 15 U.S.C. § 1692a(6)” of the

FDCPA.      (Id., ¶ 15.)     In addition, Defendant “is a ‘collection

agency’ as defined by the [NCCAA]” (id., ¶ 16) or, alternatively,

“a ‘debt collector,’ as defined by the [NCDCA]” (id., ¶ 17).

       Defendant “earns money based upon a percentage of the funds

that it collects from consumers’ mortgage payments as well as

through the assessment of late fees and other penalties.”                    (Id.,

¶    20.)    Defendant     services     “hundreds   of    thousands     of   loans

throughout the United States” (id., ¶ 21), but, “[b]ecause it does

not originate” consumer mortgages, Defendant “only becomes involved

with a customer if it acquires the servicing rights to a portfolio

of   loans   from   Fannie   Mae   or    if   Fannie     Mae   agrees   to   allow


     2 The record reflects that Koepplinger sold the home at issue
during the pendency of this lawsuit, satisfying his mortgage. (See
Docket Entry 51-7 at 12 (11:1 to 11:22).)       The record further
reflects that, also during the pendency of this lawsuit, another
entity purchased Defendant (see Docket Entry 51-1 at 33-35 (32:21
to 34:19), 68-70 (67:18 to 69:7)) and, around the same time, Fannie
Mae terminated its servicing contract with Defendant (see id. at
68-69 (67:25 to 68:17)). For simplicity’s sake, as it does not
impact resolution of the pending motions, this Opinion will adopt
the parties’ use of the present tense in referring to Defendant,
its business practices, and its relationship with Fannie Mae.
(See, e.g., Docket Entry 51 at 3 (“[Defendant] services all loans
pursuant to agreements with Fannie Mae.”); Docket Entry 58 at 22
(“[Defendant] is not a ‘collection agency’ subject to the NCCAA
because it does not solicit claims from more than one entity.
Rather, [Defendant] solicits delinquent claims from only one entity
— [Fannie Mae].” (citations omitted)).)

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[Defendant] to purchase the servicing rights to a portfolio of

loans from another servicer” (id., ¶ 24).              Many of the loans

contained in a particular loan portfolio “are delinquent when

[Defendant] acquires the rights to the portfolio” (id., ¶ 25) and

other loans become delinquent during Defendant’s “servicing of the

loans” (id., ¶ 26).

      “Upon information and belief, when loans for North Carolina

customers become more than 45 days delinquent, [Defendant] sends a

letter that it refers to as a[n] ‘NC Final Letter’ to coerce and

intimidate the borrower into paying the entire default amount of

the loan.”    (Id., ¶ 27.)    The NC Final Letter states, inter alia:

      “If full payment of the default amount is not received by
      us . . . on or before the Expiration Date, we will
      accelerate the maturity date of your loan and upon such
      acceleration the ENTIRE indebtedness of the loan,
      including principal, accrued interest, and all other sums
      due thereunder, shall, at once and without further
      notice, become immediately due and owing.”

      The NC Final Letter further states:

      [“]If you send only a partial payment, the loan still
      will be in default and we may keep the payment and still
      will accelerate the maturity date.[”]

(Id., ¶ 52 (citation omitted) (emphasis and ellipsis in original).)

As   such,   “[t]he   NC   Final   Letters   cause   borrowers,   including

[Plaintiffs], to believe that they are at risk of acceleration and

foreclosure if all arrearages to [Defendant] are not paid within

the time period identified in the Letter.”           (Id., ¶ 59; see also

id., ¶ 60 (“The NC Final Letters cause borrowers to believe that


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they will lose their homes if they do not become current on their

loan within the time period identified in the Letter.”).)

     In this regard,

     [t]he NC Final Letters create a false sense of urgency by
     threatening to accelerate the entire indebtedness of a
     consumer’s loan if “full payment of the default amount is
     not received . . . on or before the Expiration Date,”
     when [Defendant’s] actual policy, attested to by a Rule
     30(b)(6) Deponent, is to never accelerate a loan that is
     less than 45 days delinquent.

(Id., ¶ 54 (emphasis and ellipsis in original).) “The following is

a relevant portion of” the referenced deposition (id., ¶ 55):

     Q. My understanding of your testimony just now is that if
     [Defendant] receives a payment in response to an NC
     Final, then the debt is no longer 45 days due and so
     that’s sufficient to hold off the acceleration process?
     A. That’s correct.

     Q. Okay. And is that -- is that [Defendant’s] policy
     just with regard to North Carolina?
     A. That’s [Defendant’s] policy for the loans where we are
     accepting payments and we’re able to apply full
     contractual payment to the loan.

     Q. Okay. So in response to a letter like Exhibit [O],
     [Defendant’s] policy, if they’re accepting payments, is
     if they receive an amount equal to a normal monthly
     payment, they will not accelerate the debt?
     A. As long as, right, it brings the loan less than 45
     days due.

     Q. Okay. Where does it say that in this letter that if
     you make one payment or enough such that one payment is
     recorded, we won’t do this, or does it say that?
     A. Well, the [E]xpiration [D]ate provides really the --
     the timeline where the customer needs to make some sort
     of payment so that the 45 days are not past due.

     Q. Not some sort of payment, $3,204.72, that’s what it
     says, right?
     A. Yes. And we’re allowing the customer, we’re also --
     yes. We would like the $3,204.72. But our objective is

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     not to foreclose on our customers. Our objective is to
     be able to take -- even if it’s a partial payment, if
     where -- if they’re in the bucket where a partial payment
     can be made, our objective is to collect that payment to
     help them stay in their house.       Because them making
     payments, staying in their house helps us in our business
     as well. Foreclosing on them is really not, you know,
     helpful to us nor to them.

     Q. Yeah.
     A. And so therefore, this letter is sent out per the
     guidelines that are outlined and we allow the customer --
     we allow the customer to make that partial payment. And
     then when a full -- if a partial payment does not equal
     the contractual payment, then your -- then this letter
     still -- still stands. But because a contractual payment
     is able to be applied to the loan account, then we don’t
     have to continue with the -- this letter.

(Id.)

     Moreover, “[u]pon information and belief, [Defendant] will not

accelerate borrowers’ loans and proceed to foreclosure even if the

borrower fails to make a payment equal to the default amount listed

in the NC Final Letter and fails to make any payments that come due

during the notice period.”      (Id., ¶ 56 (emphasis in original).)

“Put simply, [Defendant] does not accelerate loans in the manner

threatened by its NC Final Letter in the usual course of business.”

(Id., ¶ 57.)    “The NC Final Letters misrepresent the conditions

under which [Defendant] intends to accelerate loans and materially

deceive consumers into believing their loans will be accelerated if

they fail to fully cure their default prior to the Expiration

Date.”   (Id., ¶ 58 (emphasis in original).)

     “The NC Final Letters misrepresent [Defendant’s] intentions

and present consumers with a false ultimatum that they satisfy all

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arrearages within the false deadline identified in the NC Final

Letter, or face acceleration and ultimately foreclosure.”                  (Id.,

¶ 61.)3    “The NC Final Letters are materially misleading in that

they threaten consumers, including [Plaintiffs], with acceleration

and foreclosure when [Defendant] has neither the present intent,

nor the present ability, to undertake such actions.”               (Id., ¶ 62.)

“The[se] empty threats of acceleration and foreclosure . . . are

clearly designed to scare and intimidate individuals into paying

delinquent amounts” (id., ¶ 63) and may “caus[e] individuals,

including [Plaintiffs], to send additional money to [Defendant]

that, absent the false and misleading statements, they could have

utilized    on   other   necessary    expenditures,        including    food    and

utility payments” (id., ¶ 64).        “The empty threats of acceleration

and   foreclosure    are   designed    to    scare    consumers    into   making

payments    they   otherwise   may    not”    (id.,    ¶    66)   and   “make    it

impossible for a consumer to make a rational decision in response

to the NC Final Letter because it threatens immediate, irreversible

consequences” (id., ¶ 65).




     3 In this regard, the NC Final Letter specifies, inter alia,
“[a]cceleration of the sums secured by the mortgage also may result
in the sale of the premises. Any such action will not take place
before 45 days from the date of this notice. . . . If the default
is not cured on or before the Expiration Date, [Defendant] and the
Loan Owner . . . may proceed without further notice to commence
foreclosure proceedings.” (Docket Entry 39-1 at 2 (all-cap font
omitted).)

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     “Accordingly,    the    NC   Final    Letters   threaten   action   not

actually intended to be taken by [Defendant] in the ordinary course

of business and constitute unfair threats, coercion, or attempts to

coerce payments from consumers in violation of the FDCPA, NCDCA or

NCCAA.” (Id., ¶ 69.)    “Each NC Final Letter constitutes a separate

violation of the FDCPA, the NCCAA or the NCDCA in that, inter alia,

the NC Final Letter threatens to take action not taken in the

ordinary course of business nor intended to be taken in the

particular instance.”       (Id., ¶ 73.)    Put another way:

     Each NC Final Letter creates a false sense of urgency
     designed to unfairly coerce payments from consumers in
     that the letters indicate an intent to accelerate
     indebtedness if the arrearages are not cured by the
     deadline set forth in the NC Final Letters; however,
     pursuant to Defendant’s actual corporate policy discussed
     supra, [Defendant] does not actually intend to follow
     through with its false ultimatum so long as consumers
     partially satisfy their arrearage.

(Id., ¶ 74 (emphasis in original).)         “As a result of the forgoing,

Plaintiffs have experienced anxiety, stress, anger, frustration,

and mental anguish which is fairly traceable to their receipt of NC

Final Letters containing the false ultimatums which, inter alia,

. . . misled Plaintiffs with regard to the amount of money that had

to be paid and when it needed to be paid to save their homes from

acceleration and/or foreclosure.”         (Id., ¶ 76.)

     B.   Defendant’s Business Model

     Defendant did not originate and does not own the mortgages

involved in this matter.       (See Docket Entry 56-12 at 9 (100:23 to


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100:24); Docket Entry 56-7 at 4 (13:16 to 13:20).)                  Instead,

Defendant operates as a “servicer” for Fannie Mae, serving Fannie

Mae “[a]lways” (Docket Entry 56-12 at 10 (101:2)) and “exclusively”

(Docket Entry 51-1 at 17 (16:13)).         (See, e.g., Docket Entry 56-12

at 9-10 (100:24 to 101:3); Docket Entry 51-1 at 17-18 (16:10 to

17:2).)     As such, Defendant only obtains loans to service by

“onboarding portfolios of loans that are Fannie Mae loans that have

been previously serviced by a different financial institution.”

(Docket Entry 51-1 at 15 (14:7 to 14:9).)            Fannie Mae determines

which portfolios of loans Defendant services.              (See id. at 23-24

(22:17 to 23:5).) Defendant receives as compensation for servicing

these loans a fee from Fannie Mae as well as any late fees and

certain other charges associated with the loans. (See id. at 32-33

(31:23 to 32:17); Docket Entry 51-5 at 2; see also Docket Entry 51-

1 at 79-80 (78:20 to 79:10).)

     i. Onboarding Procedures

     Defendant follows the same general procedure for onboarding

loans.    (See Docket Entry 51-1 at 22-23 (21:3 to 22:6).)              Once

Fannie    Mae   identifies    a   portfolio   of   loans    to   transfer   to

Defendant, Fannie Mae and Defendant enter into a subservicing

agreement, a standardized agreement that lists the relevant loans

on its associated schedules.        (See id. at 26-28 (25:22 to 27:21).)

Defendant   then    follows   the   same   general    onboarding    transfer

instructions.      (See id. at 37 (36:3 to 36:18).)


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     These       instructions   include      the   issuance   of   a   Defendant-

approved “‘Goodbye Letter’” from the previous servicer to each

mortgagor, indicating that Defendant will commence servicing the

relevant loan on a specific date (i.e., the transfer date).                    (See

id. at 38-39 (37:9 to 38:6).) Defendant also requires the previous

servicer    to    send   Defendant   certain       information     regarding    the

transferring loans at specific intervals before and after the

effective date of their transfer.              (See id. at 39-46 (38:7 to

45:17).)     In     particular,   the     previous    servicer     must   provide

Defendant    with     the   personal    identifier      information,      payment

history, and loan status of each mortgage approximately 30 days

before the effective date of transfer and must provide an updated,

final version of such information by two business days after the

transfer date.        (Id.)4    In addition, the previous servicer may

provide updates regarding individual loans during the interim

period between the preliminary and final information transfers, in

which case the relevant loan file will reflect such communication.

(See id. at 44-49 (43:15 to 48:7).)

     ii. Loan Procedures

     Once Defendant onboards a loan, it follows the same procedures

for servicing that loan as it does for its existing loans.                     (See



     4    Accordingly, one can determine which loans remained
delinquent at the time of transfer by “look[ing] at these final
data sets for every portfolio that was transferred” (id. at 57
(56:4 to 56:5)). (See id. (56:2 to 56:8).)

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id. at 20-22 (19:1 to 21:2).)        If a loan qualifies as less than 30

days past due, Defendant processes it in its “customer service

delinquency management” department (Docket Entry 51-6 at 90 (89:9

to 89:10)), also known as “customer service” (id. (89:10)).                   (See

also, e.g., Docket Entry 51-1 at 87 (86:10 to 86:19).)5                If a loan

becomes “more than 30 days in arrears” (Docket Entry 51-6 at 22

(21:14 to 21:15)), it moves into the “pre-foreclosure department”

(id. at 23 (22:11)), where it remains until it reaches 121 days in

arrearage (see id. at 22 (21:17 to 21:23)).               (See also id. at 23

(22:13 to 22:18 (agreeing that “all activities during the period of

30 to 121 [days past due] takes [sic] place in the pre-foreclosure

department”)).)     After 121 days, it moves into the foreclosure

department.     (See id. at 22-23 (21:20 to 22:7); see also Docket

Entry 51-3 at 43 (42:15 to 42:22 (explaining that “‘[Defendant]

refers   loan[s]   to     foreclosure     between   120    and   126    days    of

delinquency’”)).)

     Defendant     utilizes    two   avenues   of   communication        in    its

attempts   to   collect    overdue   loans   during   the     pre-foreclosure

process:    telephone conversations through its call center and

written communication through its pre-foreclosure department. (See

Docket Entry 51-6 at 24-25 (23:2 to 24:5), 91 (90:11 to 90:19).)

“The pre-foreclosure department is responsible for sending all


     5    Another of Defendant’s employees referred to this
department as “delinquency management or call center” (Docket Entry
51-3 at 87 (86:15 to 86:16)). (See id. (86:10 to 86:16).)

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breach letters and all state and federal required notices prior to

referring the loan to foreclosure” (id. at 24-25 (23:24 to 24:2)).

(See id. at 25 (24:5).)         For North Carolina, a single document

contains both the breach letter and the required notices.             (Docket

Entry 51-3 at 20 (19:1 to 19:5), 22-23 (21:21 to 22:5).)                 This

document (the “NC Final Letter” or “NOI”) constitutes “the only

letter that [the] pre-foreclosure [department] uses to attempt to

collect money from [a] consumer during pre-foreclosure” (Docket

Entry 51-6 at 24 (23:8 to 23:10)).          (See id. at 24-25 (23:2 to

24:17).)6     Aside from the specific borrower’s information and

amount due, the NC Final Letter “is substantially identical for all

individuals who are due to receive it” (id. at 28 (27:20 to

27:22)).     (See id. (27:20 to 27:24).)          Defendant issues the NC

Final Letter when a loan becomes between 45 and 60 days past due,

“but usually closer to 45” (id. at 45 (44:12)).            (Id. (44:11 to

44:17).)     Defendant sends an NC Final Letter to every address on

record for each obligor on the relevant loan.         (Id. at 34 (33:5 to

33:18).)

     The     NC   Final   Letter   states   the   amount   of   the    loan’s

delinquency and a deadline for paying that amount, called the

“Expiration Date.”        (See id. at 25 (24:21 to 24:24), 40-41 (39:14

to 40:7).)    The NC Final Letters in the record and the testimony of


     6   Other names for the NC Final Letter include the North
Carolina L724, DM724, and a 724. (See Docket Entry 51-3 at 22-24
(21:21 to 23:6), 34 (33:7 to 33:12), 39 (38:22 to 38:24).)

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Defendant’s pre-foreclosure department employee who handled North

Carolina loans reflect a fifty-day Expiration Date.             (See, e.g.,

Docket Entries 39-1 to 39-12; Docket Entries 39-16 to 39-19; Docket

Entry 51-3 at 34 (33:2 to 33:6); Docket Entry 51-4 at 2; Docket

Entry 53-5 at 2, 10; Docket Entry 53-7 at 2, 5, 8, 11; Docket Entry

56-11 at 2, 6, 9, 18.)    However, the record also contains testimony

from Defendant characterizing the Expiration Date as “a 30-day

period” (Docket Entry 51-6 at 25 (24:24); see id. (24:21 to 24:24

(“The L724 is to advertise [sic] the borrowers that they are

delinquent and what their amount due is to bring current within

that 35-day period –- actually 30 days.            Sorry.     It’s a 30-day

period.”)).)     The record further reflects that Defendant employs a

state-dependent Expiration Date, which “[i]s typically 35 days”

(Docket Entry 51-3 at 60 (59:18); see id. (59:16 to 59:19));

however, “in North Carolina, [Defendant] did not use the 35 day

[E]xpiration [D]ate deadline,” but rather “used 50 days” (id. at 75

(74:2 to 74:3); see id. (74:4)).

       “The [E]xpiration [Date] on the letter is the date that

[Defendant] would like the[ delinquent borrower] to get the money

in.”    (Docket Entry 51-6 at 44 (43:24 to 43:25).)            Further, for

letters   with   a   30-day   Expiration   Date,   full     payment   of   the

specified amount by the Expiration Date would enable removal of the

loan from the pre-foreclosure department, as the account would

become less than 30 days overdue even assuming failure to make an


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intervening monthly payment.     (See Docket Entry 51-3 at 87 (86:10

to 86:16).) However, failure to pay (any amount) by the Expiration

Date “doesn’t actually trigger anything” (id. at 78 (77:24)).

(See, e.g., id. (77:14 to 77:25).)      Rather, Defendant only refers

a loan to the foreclosure department at or after 121 days past due.

(See, e.g., id. at 20 (19:13 to 19:14), 44 (43:5 to 43:10); Docket

Entry 51-6 at 22-23 (21:20 to 22:18); see also Docket Entry 51-3 at

76 (75:7 to 75:10 (“Q.      And it’s the 120 days delinquency that

triggers a foreclosure referral, not the [E]xpiration [D]ate in the

letter?   A.    That is correct.”)).)      Moreover, if an individual

makes a payment — even a partial payment — after the Expiration

Date, “[t]he whole process starts over” (Docket Entry 51-3 at 58

(57:18)) and Defendant sends a new NC Final Letter when the account

becomes 45 days past due.    (See id. at 51 (50:2 to 50:10), 58 (57:6

to 57:24).)    In other words, in North Carolina, “when the customer

makes a payment and they’re still in arrears, a new NOI will be

generated and sent to the customer” (id. at 51 (50:5 to 50:7))

“[a]s soon as the payment is applied” (id. (50:9)). (See id. (50:2

to 50:10); see also Docket Entry 51-6 at 39 (38:8 to 38:25).)            In

fact, in North Carolina, an individual could pay on the 122nd day

to be automatically “kicked back” from the foreclosure referral and

have “a new NOI . . . generated” (Docket Entry 51-3 at 66 (65:16)).

(See id. (65:10 to 65:17).)




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      Unless the payment renders an account less than 30 days past

due, it remains in the pre-foreclosure department. (See id. at 86-

87 (85:25 to 86:21).)         Moreover, although not authorized by Fannie

Mae (see id. at 102 (101:4 to 101:7)), Defendant granted its

employees discretion to reject payments that fail to bring a loan

sufficiently current.         (See id. at 81-85 (80:17 to 84:23), 100-06

(99:11 to 105:12).)           More specifically, “[i]f the borrower was

continuously making payments, [Defendant’s employees] would be able

to reject funds” (id. at 81 (80:24 to 80:25)).           (See id. (80:17 to

80:25).)7       The    process    of   accepting   or   rejecting     payments

transferred     from    the     pre-foreclosure    department    to    another

department in 2014.      (Id. at 100 (99:11 to 99:14).)       However, while

it   remained    in    the    pre-foreclosure   department,     the   employee

responsible for North Carolina followed a policy of accepting

payments that brought a loan “[l]ess than 60 days” delinquent (id.

at 102 (101:24)).       (See id. at 101-06 (100:13 to 105:12).)

      If a loan reaches 121 days’ delinquency, the pre-foreclosure

department refers it to the foreclosure department unless it

remains subject to certain “exceptions,” such as bankruptcy or a

military exemption, that prevent its referral.           (See, e.g., id. at

24-28 (23:15 to 27:17), 77 (76:15 to 76:23), 89-91 (88:22 to

90:4).)     Defendant accelerates the loan when it refers it to


     7 The pre-foreclosure department identified borrowers subject
to this policy with the code “X-Y” in their loan files. (See id.
at 82-83 (81:12 to 82:12).)

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foreclosure.       (See, e.g., Docket Entry 51-1 at 142-43 (142:21 to

142:1 (“The referral of the loan to attorneys to begin foreclosure

is the step to accelerate the loan? . . .                Yes.”)); Docket Entry

51-6 at 30-34 (29:5 to 33:3).)           When Defendant refers a loan to its

foreclosure department, it sends all obligors on the account a form

letter notifying them of the foreclosure referral.                   (See Docket

Entry 51-1      at    134-39   (133:10      to   138:21).)    This   foreclosure

notification letter states:            “‘[Defendant] ha[s] transferred [the

person’s] loan to [its] foreclosure department due to nonpayment

and accelerated the maturity date of [the] loan’” (id. at 139

(138:5 to 138:7)).       (Id. (138:5 to 138:10).)         “‘This means that the

full   amount    of    [the    person’s]     loan   balance   is   now   due,    and

[Defendant] ha[s] referred [the] loan to [its] attorneys to begin

foreclosure proceedings’” (id. at 141 (140:20 to 140:23)).                      (See

id. (140:19 to 140:24).)

       Defendant      cannot   refer    a    loan   to   foreclosure     until    it

qualifies as at least 120 days delinquent.               (Docket Entry 51-6 at

76-77 (75:6 to 76:2).)8         Moreover, mere failure to pay late fees or

other charges does not trigger foreclosure.               (Docket Entry 51-1 at




     8    Defendant’s policy in this regard follows federal
regulations. See 12 C.F.R. § 1024.41(f)(1)(i) (“A servicer shall
not make the first notice or filing required by applicable law for
any judicial or non-judicial foreclosure process unless: (i) A
borrower’s mortgage loan obligation is more than 120 days
delinquent[] . . . .”).

                                         17




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87 (86:4 to 86:19).)9        In this regard, “the mortgage industry”

differentiates between a “current” loan and one that “[i]s up to

date,” with a current loan signifying full payment of all monthly

installments, namely, “the principal and interest and taxes and

insurance   payments   that’s    owed,”   and   an   “up    to   date   loan”

signifying payment of “everything that’s due and owing on the loan”

(id. at 110 (109:9 to 109:14) (internal quotation marks omitted)),

including any “late fees and additional fees owed on the loan” (id.

at 109 (108:22 to 108:23)).     (See id. at 109-15 (108:14 to 114:11);

see also id. at 99-102 (98:10 to 101:1).)

     iii. NC Final Letter

     Despite the distinctions noted above, the form NC Final Letter

that Defendant sends to delinquent borrowers treats all outstanding

moneys as required to “bring [the borrower’s] loan current” (Docket

Entry 51-4 at 2).      (See id. at 2; see also id. at 4 (itemizing

amount due, including $318.57 in “Late Fees”).)            For instance, as

reflected in Defendant’s NC Final Letter to Koepplinger dated

January 26, 2016, the letter states in relevant part:

     Your loan is in default due to non-payment of the amount
     below.

            Amount Due:           $2,687.26
            Amount Due By:        03/16/2016 (“Expiration Date”)



     9 Indeed, Defendant imposes no deadline for paying late fees,
instead allowing “rolling” payments (id. at 100 (99:4)) or
“mak[ing] those payments on a later day” (id. (99:22)). (See id.
at 99-103 (98:17 to 102:8).)

                                   18




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 We hereby demand that you bring your loan current (“cure
 the default”) by paying the amount shown above.       In
 addition, your regular payment may become due by the
 Expiration Date.    You also should be aware that the
 delinquent amount of principal continues to accrue
 interest.

 If full payment of the default amount is not received by
 us in the form of a certified check, cashier’s check, or
 money order on or before the Expiration Date, we will
 accelerate the maturity date of your loan and upon such
 acceleration the ENTIRE indebtedness of the loan,
 including principal, accrued interest, and all other sums
 due thereunder, shall, at once and without further
 notice, become immediately due and payable. Acceleration
 of the sums secured by the mortgage also may result in
 the sale of the premises. Any such action will not take
 place before 45 days from the date of this notice.

 If you send only a partial payment, the loan still will
 be in default and we may keep the payment and still will
 accelerate the maturity date.

 IF THE DEFAULT IS NOT CURED ON OR BEFORE THE EXPIRATION
 DATE, WE AND THE LOAN OWNER INTEND TO ENFORCE THE LOAN
 OWNER’S RIGHTS AND REMEDIES AND MAY PROCEED WITHOUT
 FURTHER NOTICE TO COMMENCE FORECLOSURE PROCEEDINGS.
 FORECLOSURE PROCEEDINGS WILL NOT BE COMMENCED UNLESS AND
 UNTIL ALLOWED BY APPLICABLE LAW. ADDITIONAL FEES SUCH AS
 FORECLOSURE COSTS AND LEGAL FEES MAY BE ADDED PURSUANT TO
 THE TERMS OF THE LOAN DOCUMENTS.

 The loan is in default because you have failed to pay the
 required monthly installments commencing with the payment
 due 11/01/2015.

 As of 01/01/2016, Total Monthly Payments (including
 principal, interest, and escrow if applicable), late
 fees, insufficient funds (NSF) fees, and other fees and
 advances due under the terms of your loan documents in
 the total amount of $2,687.26 are past due.          This
 past-due amount is itemized below. If applicable, your
 account may have additional escrow amounts that have been
 paid out and are due on the loan.

       Total Monthly Payments:                 $4,249.65
       Late Fees:                              $318.57
       Insufficient Funds (NSF) Fees:          $0.00

                                19




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          Other Fees and Advances*:                $0.00
          Advances*:                               $222.00

          Amount Held in Suspense                  $2,102.96

          *Other Fees and Advances include those assessed in
          accordance with your loan documents, and/or
          permitted   by  applicable  law,   or   that  were
          authorized for services rendered.     If you need
          additional information regarding any of these
          amounts, please contact us at the number provided
          below.

     Nothing contained in this letter or in any other
     communication regarding the loan shall modify or waive
     any term or provision of the loan. The status of your
     loan may be reported to credit reporting agencies.

     You have the right to reinstate your loan after
     acceleration and the right to bring a court action or
     assert in the foreclosure proceedings the nonexistence of
     a default or any other defense to acceleration and sale.
     If you reinstate your loan after acceleration, the loan
     no longer will be immediately due in full.

(Id. at 2-4 (emphasis in original).)10      The letter also contains on

its first page a disclaimer stating:       “THIS COMMUNICATION IS FROM

A DEBT COLLECTOR AS WE SOMETIMES ACT AS A DEBT COLLECTOR.          WE ARE

ATTEMPTING TO COLLECT A DEBT AND ANY INFORMATION OBTAINED WILL BE

USED FOR THAT PURPOSE. . . .”     (Id. at 2 (emphasis in original).)

     Not accounting for duplication of copies sent to differing

obligors and addresses, Defendant sent 66,218 NC Final Letters

during the relevant time period.        (See Docket Entry 53-8 at 56-59


     10   A borrower can reinstate a loan by paying all overdue
amounts and fees, as well as attorney’s fees and other expenses
associated with the foreclosure proceedings. (See Docket Entry 66-
8 at 2-13 (Smith reinstatement letters); see also Docket Entry 51-8
at 49-50 (48:8 to 49:22 (discussing Smith’s understanding of
reinstatement, which “does not entail paying the full principal
balance on the loan” (id. at 50 (49:1 to 49:2)))).)

                                   20




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(55:15 to 58:3).)      Defendant can run a query in its electronic data

storage system to determine the total number of NC Final Letters

sent during the relevant time period.          (See id. at 59-60 (58:4 to

59:23); see also id. at 77 (76:2 to 76:7).)11          Based on a query run

in preparation for one of its 30(b)(6) depositions, Defendant

estimates that the number of such letters lies between 100,000 and

150,000. (See id. at 73-75 (72:24 to 74:17).) Defendant possesses

the names and addresses of all the recipients of those letters, as

well as any emails or Social Security Numbers such individuals

provided in connection with servicing their loans.            (See id. at 8-

12 (7:18 to 11:5).)        Defendant also identified the dates on which

it sent each of the NC Final Letters.                (Id. at 33 (32:14 to

32:22).) Further, by running a query of its data system, Defendant

can    determine   which    borrowers    remained    delinquent   in   monthly

payments, fees, or other expenses at the time Defendant onboarded

their loans.       (See id. at 68-70 (67:12 to 69:15).)12              Finally,

through another query, Defendant can identify borrowers whose

payments it rejected, at least insofar as Defendant wrote to the

borrower regarding the rejected payment.            (See id. at 14-15 (13:23

to 14:1), 78 (77:1 to 77:5), 79-80 (78:10 to 79:25), 82 (81:5 to



     11 This task would take an hour or two.              (See id. at 75-76
(74:20 to 75:9).)

     12    Although not specific to the time of acquisition,
Defendant testified that 9,300 North Carolina loans qualified as
defaulted during the relevant period. (See Docket Entry 51-1 at
62-64 (61:21 to 63:12).)

                                        21




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81:22); see also Docket Entry 51-3 at 104 (103:15 to 103:19

(testifying to belief, by employee previously involved in process,

that Defendant sends letter when it rejects payment)).)

       C.    Koepplinger

       Defendant     obtained   Koepplinger’s           loan   from    CitiMortgage

effective February 1, 2014.        (See Docket Entry 51-7 at 92 (91:4 to

91:8).) Pursuant to Defendant’s onboarding protocols, CitiMortgage

provided its preliminary data set for Koepplinger’s loan (and other

loans in the relevant portfolio) by January 6, 2014.                    (See Docket

Entry 51-1 at 39-40 (38:7 to 39:5).)                As of December 17, 2013,

Koepplinger owed CitiMortgage two outstanding monthly payments,

plus certain fees, with a third monthly payment due on January 1,

2014.       (See Docket Entry 51-7 at 79-81 (78:12 to 80:13).)                     On

December 21, 2013, Koepplinger paid CitiMortgage slightly more than

one    monthly   payment.       (See   id.   at    82-84       (81:4   to   83:24).)

Accordingly,       the   preliminary   data       set    CitiMortgage       sent   to

Defendant would have reflected that Koepplinger remained behind on

his payments.       (See Docket Entry 51-1 at 49 (48:20 to 48:24), 76

(75:3 to 75:6).)13

       On January 21, 2014, Koepplinger again paid CitiMortgage

slightly more than one monthly payment.             (See Docket Entry 51-7 at



     13 CitiMortgage would have provided updated information to
Defendant by February 4, 2014, but Koepplinger’s loan file reflects
no communications between CitiMortgage and Defendant in the
interval between the preliminary and final data transfers. (See
id. at 49 (48:4 to 48:19).)

                                       22




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85-87 (84:2 to 87:17).)     Four days later, Koepplinger also paid

CitiMortgage slightly more than one monthly payment.         (See id. at

89 (88:2 to 88:13).)   However, Koepplinger still owed certain late

fees and charges totaling approximately $162.         (See id. at 92-93

(91:16 to 92:14); Docket Entry 51-1 at 77-80 (76:1 to 79:3).)

Defendant attempted to collect that outstanding $162.56 for months,

and ultimately did collect it.     (See Docket Entry 51-1 at 80 (79:4

to 79:10), 83-84 (82:23 to 83:1).)

     In addition, Koepplinger failed to make his monthly payment

due on February 1, 2014.    (See Docket Entry 51-7 at 96-97 (95:12 to

96:10).)14 Accordingly, Defendant’s first statement, dated February

18, 2014, to Koepplinger after assuming servicing of his loan

reflects that Koepplinger owed Defendant a total of $2,848.24,

consisting of $1,342.84 for his overdue February payment, $1,342.84

for his payment due March 1, 2014, and $162.56 in delinquency

charges and late fees.     (See Docket Entry 51-1 at 80-84 (79:18 to

83:4).)   Shortly thereafter, on February 26, 2014, Defendant sent

Koepplinger a letter stating:     “Dear Koepplinger, Kenneth, we are

concerned that we have not received your mortgage payment of

$1,505.40, which was due on February 1st, 2014” (id. at 88 (87:13

to 87:16)).   (See id. (87:9 to 87:18).)        This letter mistakenly



     14   The Note for Koepplinger’s mortgage specifies that he
“will be in default” if he fails to pay his monthly payment on the
first day of each month. (Docket Entry 51-9 at 2.) Koepplinger
failed to make his monthly payments from February 2014 to June
2014. (See Docket Entry 51-7 at 97-101 (96:19 to 100:24).)

                                   23




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treated the outstanding $162.56 as part of Koepplinger’s overdue

mortgage payment.    (See id. at 88-89 (87:19 to 88:11).)         On March

16, 2014, Defendant sent Koepplinger its first NC Final Letter,

which specified that to “bring [his] loan current” (id. at 91

(90:17 to 90:18) (internal quotation marks omitted)) Koepplinger

needed to pay “$2848.24” by May 5, 2014, which amount included the

outstanding $162.54 in late fees.       (Id. at 89-93 (88:17 to 92:5).)

     In June 2014, Koepplinger paid all overdue amounts, including

the $162.56, to Defendant. (See Docket Entry 51-7 at 96-101 (95:13

to 100:24).)    However, in subsequent years Koepplinger again fell

behind on his monthly payments, prompting Defendant to send him

more NC Final Letters.    (See Docket Entries 39-3 to 39-12; see also

Docket Entry 53-6 at 12 (identifying 24 dates from March 16, 2014,

to October 18, 2017, on which Defendant sent Koepplinger NC Final

Letters).)     Each time, Defendant sent Koepplinger an NC Final

Letter at both his home address and his P.O. Box.              (See, e.g.,

Docket Entries 39-1 to 39-12.) Koepplinger read both letters every

time, a task that took a few minutes.          (See Docket Entry 51-7 at

103-06 (102:22 to 105:22).)      When Koepplinger fell behind in his

payments, Defendant frequently telephoned him regarding his overdue

account, in addition to sending him the NC Final Letters.            (See,

e.g., id. at 19 (18:3 to 18:13).)            Koepplinger described these

calls   as   harassing   (see   id.)   and   indicative   of   Defendant’s

belligerent attitude, explaining that he often received multiple



                                   24




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calls in one day, beginning at 6 a.m. and continuing until 8 p.m.,

during which calls, Defendant’s employees screamed at him and

alternated between purporting to work with Koepplinger, such as by

waiving a late fee, and disavowing arrangements made in previous

telephone conversations.    (See, e.g., id. at 19-21 (18:3 to 20:8),

39-40 (38:5 to 39:9), 43 (42:3 to 43:7), 126-27 (125:21 to 126:25),

130 (129:3 to 129:9), 136 (135:3 to 135:8), 143-45 (142:18 to

144:6).)15   In part because of this “good cop/bad cop” (id. at 39

(38:21 to 38:22)) approach, Koepplinger felt that he could not

trust Defendant and he worried that Defendant would foreclose on

his house when he failed to make the required payments.             (See,

e.g., id. at 124-26 (123:25 to 125:4).)

     On December 1, 2015, Defendant sent Koepplinger another NC

Final Letter, which demanded payment of $4,266.15 by January 20,

2016.   (See Docket Entry 39-3 at 2.)     On December 21, 2015, likely

in response to a telephone call with Defendant, Koepplinger paid

$1,600 towards that outstanding amount. (Docket Entry 51-7 at 118-

20 (117:6 to 119:12).)       On December 22, 2015, Defendant sent

Koepplinger another NC Final Letter, reflecting an amount due of

$2,718.43, with an Expiration Date of February 10, 2016.          (Id. at


     15 Koepplinger further testified that although he found these
telephone conversations stressful, the NC Final Letters remained
independently stressful because of their threats of acceleration
and foreclosure. (See, e.g., id. at 135-36 (134:23 to 135:2 (“The
default letters, seeing that in black and white; they’re going to
take your house, they’re going to take your house. No matter what
you do, they’re going other take your house.          That causes
[stress].”)).)

                                   25




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120-21 (119:18 to 120:2).)     On January 26, 2016, Koepplinger paid

Defendant another $1,500, again likely in response to a telephone

call suggesting that he pay a specific amount by a specific date.

(See id. at 120-22 (119:18 to 121:22).)         That same day, Defendant

sent Koepplinger another NC Final Letter, with an Expiration Date

of March 16, 2016, demanding payment of $2,687.26.            (Id. at 123

(122:4 to     122:19).)   On   February   29,    2016,   Koepplinger   paid

$1,451.20 towards this outstanding amount.         (See id. at 124 (123:1

to 123:16).)

     Given his failure to make full payments by the Expiration

Dates in the NC Final Letters, Koepplinger remained fearful that

Defendant would foreclose on his house.         (See, e.g., id. at 124-29

(123:20 to 128:16).) Indeed, based on the representation in the NC

Final Letter that “‘[a]ny such action will not take place before 45

days from the date of this notice’” (id. at               109 (108:12 to

108:13)), Koepplinger believed that Defendant would accelerate his

loan and foreclose on his home within 45 days of an NC Final Letter

if he failed to pay the full amount due.             (See id. (108:7 to

108:19).)16    Accordingly, he worried about returning home to find

a padlock on his gate indicating that Defendant had foreclosed.

(See id. at 20-22 (19:15 to 21:2); see also id. at 125-29 (124:6 to


     16   Although he declined to opine on the legal meaning of
acceleration, Koepplinger explained that he believed it meant to
speed things up and he perceived it as part of the foreclosure,
explaining that he “look[s] at the whole thing as foreclosure” (id.
at 140 (139:5)). (See, e.g., id. at 36-37 (35:8 to 36:11), 140
(139:3 to 139:5).)

                                   26




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128:16 (elaborating upon the reasons that “[he] was living with

wondering if there was going to be a padlock on [his] fence when

[he] got home”)).)    Koepplinger explained that he wondered if “it

[was] just [that Defendant] d[id]n’t want [his] house yet” because

Defendant “can grab it at any time,” and that he “was really

bothered by it.”    (Id. at 125 (124:12 to 124:14); see also id. at

127-28 (126:8 to 127:8 (explaining that “it was just way too much”

and that he took the repeated letters regarding foreclosure “as a

threat”)).)17   The NC Final Letters made him feel depressed, upset,

and “miserable” (id. at 135 (134:15)), and also caused him “undue

stress” (id. (134:17)).    (See id. at 135-41 (134:7 to 140:20).)18




     17   In this regard, Koepplinger explained that he had

     watched developers . . . threaten their clients to take
     back, take back, take back, and they only took back when
     they found someone else to sell it to.

          Until then, they left let [sic] the lovely people
     pay whatever they could pay and keep -- and just keep
     them strung on to pay some of those bills until they
     found a buyer.

(Id. at 128-29 (127:25 to 128:8).)     As such, he believed that
“[w]hen it got to be [to Defendant’s] advantage that [it] could
sell [his] property, [Defendant] would do it.” (Id. at 140 (139:17
to 139:18).)

     18   For instance, Koepplinger explained that

     Well, looking at a piece of paper that says, “We’re going
     to foreclose on your house,” and seeing that every month,
     if I was a lawyer, I’d could [sic] shake it off; “Nah,
     they’re wasting paper.”     But I’m not.    I took it as
     they’re going to lock me out of my house. That’s the way

                                   27




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     In response to these NC Final Letters, Koepplinger sold

firearms and delayed payment on other accounts, resulting in higher

interest payments, to pay Defendant.        (See id. at 56-57 (55:8 to

56:17), 131-33 (130:8 to 132:6), 134-35 (133:19 to 134:10).)             In

addition, he and his fiancé began discussing selling his house — a

historic home that he owned for approximately 30 years and spent

two and a half years restoring — “to get the heck away from

[Defendant]”      because    “[Defendant]    just    made    [Koepplinger]

miserable” (id. at 135 (134:14 to 134:15)) and he “just wanted it

to go away” (id. at 125 (124:15 to 124:16)) “because life was very

hard with [Defendant]” (id. (124:20 to 124:21)).            (See id. at 29

(28:1 to 28:4), 53-54 (52:6 to 53:12), 125 (124:12 to 124:22), 135-

36 (134:10 to 135:2).)        Accordingly, approximately a year and a

half ago, Koepplinger sold this home, paying off his mortgage and

receiving money back from Defendant.          (See id. at 12 (11:4 to

11:22), 44 (43:22 to 43:23), 131 (130:1 to 130:7).)

     D.   Smith

     Separately, Defendant obtained Smith’s mortgage for servicing

from Chase Bank on September 1, 2014.       (Docket Entry 51-1 at 121-27

(120:22 to 126:9).)         At that time, Smith remained two mortgage

payments in arrears, having failed to pay in July and August 2014.




     I took it. I took it hard every time.          Got over it, but
     took it hard.

(Id. at 138 (137:16 to 137:22).)

                                    28




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(See id. at 127-29 (126:13 to 128:10).)           Thus, on September 15,

2014, Defendant sent Smith an NC Final Letter, specifying an amount

due of $1,968.02 and an Expiration Date of November 4, 2014.         (Id.

at 125-29 (124:12 to 128:3); see also Docket Entry 39-16 at 2.)

Smith did not make this payment or any of her mortgage payments for

several   months   after    Defendant     began   servicing   her   loan.

(See Docket Entry 51-8 at 56 (55:2 to 55:8); see also Docket Entry

51-1 at 130-34 (129:21 to 133:13 (discussing referral of Smith’s

mortgage to foreclosure on December 4, 2014)).)          On December 4,

2014, Defendant transferred Smith’s loan from its pre-foreclosure

to its foreclosure department.          (See Docket Entry 51-1 at 134

(133:10 to 133:13).)       A few days later, Defendant sent Smith a

letter notifying her of the foreclosure referral, which stated:

“We have transferred your loan to our foreclosure department due to

nonpayment and accelerated the maturity date of your loan” (id. at

139 (138:5 to 138:7) (internal quotation marks omitted)). (See id.

at 135-41 (134:10 to 140:8).)

     For reasons that remain unclear, a court dismissed Defendant’s

foreclosure proceedings against Smith in or after December 2015.

(See Docket Entry 51-8 at 25-27 (24:12 to 26:2).)        It appears that

Smith received funding through HUD to reinstate her mortgage in

connection with that foreclosure proceeding.          (See id. at 126-27

(125:25 to 126:7).)     However, Smith fell behind in her mortgage

payments again in 2017 and 2018, prompting Defendant to send her



                                   29




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additional NC Final Letters.        (See Docket Entries 39-17 to 39-19.)

More specifically, Defendant sent Smith an NC Final Letter on

August 15, 2017, which demanded $1,515.96 by October 4, 2017.

(See Docket Entry 39-17 at 2; Docket Entry 51-8 at 136 (135:6 to

135:9).) Smith borrowed money from her mother to pay the requested

amount,   paying   it   in   full   on     or   before   September   1,   2017.

(See Docket Entry 51-8 at 136-37 (135:10 to 136:3); see also id. at

147 (146:19 to 146:21 (explaining that Smith’s mother “offered to

pay the amounts due in the letter in -- in 2017”)).)19

     Defendant also sent Smith an NC Final Letter on May 15, 2018,

which contained an Expiration Date of July 4, 2018.              (See Docket

Entry 39-18 at 2.)       In response to this letter, Smith recalls

making payments in “May and June” (Docket Entry 51-8 at 141

(140:19)), but Defendant’s loan history for Smith reflects three

payments on August 27, 2018 (see id. at 138-43 (137:23 to 142:12)).

On September 4, 2018, Defendant sent Smith another NC Final Letter,

specifying that she failed to pay her monthly payments commencing

with the payment due July 1, 2018.              (Docket Entry 39-19 at 2-3.)

This NC Final Letter reflects an Expiration Date of October 24,

2018, and an amount due of $2,259.37.             (Id. at 2; see also Docket

Entry 51-8 at 146 (145:5 to 145:11).)            In or before February 2019,

Smith “made a large payment” (Docket Entry 51-8 at 146 (145:12);



     19 Smith continued to borrow money from her mother to pay her
mortgage loan until approximately the end of 2017. (See id. at
154-56 (153:10 to 155:24).)

                                      30




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see id. (145:12 to 145:25)) that brought her account current. (See

id. at 85-97 (84:9 to 96:19).)20        In early 2019, Smith sold some

assets, including a race truck and, likely, a sword collection

belonging to her deceased ex-husband, to make these payments. (Id.

at 98-102 (97:7 to 101:14).)

     Around this same time, Defendant again instituted foreclosure

proceedings against Smith.     (See id. at 87-92 (86:13 to 91:24).)

Smith did not learn of these foreclosure proceedings until after

she made the payments that brought her account current.        (See id.;

accord id. at 109 (108:1 to 108:22).)        Given her current status,

Defendant stopped the foreclosure proceedings.        (See id. at 84-85

(83:21 to 84:18); accord id. at 97 (96:10 to 96:13), 125-26 (124:1

to 125:24).)

     Smith generally received two copies of the NC Final Letters,

one addressed to her physical address and one to her P.O. Box.

(See id. at 72-73 (71:25 to 72:6).)       Smith read the letters every

time she received them.    (Id. at 73 (72:7 to 72:22), 75-76 (74:21

to 75:12).)    Smith testified that the NC Final Letters caused her

anxiety and stress.    (See, e.g., id. at 162-63 (161:25 to 162:5

(confirming that, in response to NC Final Letters, Smith “felt

depressed, anxious, worried, had difficulty sleeping, had shaking

episodes”)).)     In this regard, Smith testified that her long


     20 This payment included Defendant’s reimbursement of $1,398,
an amount double Smith’s normal monthly payment, for property taxes
that Defendant erroneously collected on Smith’s loan. (Id. at 95
(94:6 to 94:25).)

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duration of unemployment (spanning from 2010 to 2019 (see id. at

54-56 (53:2 to 55:20))) and consequent lack of funds caused her

stress (see id. at 58-59 (57:19 to 58:6)), but that the NC Final

Letters caused her greater stress and depression because she “was

worried about [Defendant] foreclosing on -- on -- on [her] home”

(id. at 165 (164:19 to 164:20)).              (See, e.g., id. at 61-62 (60:25

to 61:5); see also id. 163 (162:21 to 162:25 (explaining that the

“letters was [sic] a bigger impact where you’re -- you’re in fear

of [Defendant] taking your home because you’re supposed to pay a

certain amount of money by a certain -- certain date or [Defendant

wi]ll foreclose on your home”)).)

     Smith testified that, had she known either that she “had more

time to pay the[] amounts of money” specified in the NC Final

Letters (id. at 113 (112:15 to 112:16)) or that she “could’ve paid

smaller amounts”      (id.   at    158    (157:5)),       she   would    have   acted

differently.       (See, e.g., id. (157:4 to 157:9).)                For instance,

Smith often relied on a friend to pay her utility expenses during

the relevant period, but had she known about Defendant’s actual

policies,    she    would   have   paid       Defendant    smaller      amounts   and

contributed more towards her own utility bills rather than relying

on her friend.       (See id.; see also id. at 162 (161:14 to 161:18

(confirming that Smith “wouldn’t have borrowed money from [her

friend] if [she] could’ve used [her] own money to pay the utility

bills”)).)    In addition, she would have been able to promptly pay



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an attorney she hired in 2017 to handle a servicing dispute with

Defendant “rather than have to make him wait later” (id. at 160

(159:2 to 159:3)).    (See id. at 159-60 (158:22 to 159:3); see also

id. at 22 (21:16 to 21:23).)         Finally, she would have altered her

response to the 2017 NC Final Letter by paying a smaller amount

while she    worked   to   resolve    an   ongoing   servicing   issue   with

Defendant, wherein Defendant increased her monthly payment in a

mistaken attempt to collect taxes (and possibly insurance) on

property that Smith owned outright, which adjoined the property

subject to her Fannie Mae mortgage (see id. at 22-23 (21:16 to

22:20), 27-28 (26:10 to 27:8), 39-40 (38:18 to 39:13), 77-78 (76:13

to 77:7)).    (See id. at 153 (152:2 to 152:23).)           In particular,

Smith testified, in regards to the NC Final Letter in August 2017,

     if I had’ve known that I had more time to pay that, I
     would’ve made a better decision and not have borrowed
     money from my mother and paid a little bit, got this
     straight on my servicing issues, and then paid the amount
     that I needed to get current.

     Q And why do you say you would’ve made a better decision?
     What would the better decision have been?

     A Because I would’ve known that I had more time to have
     paid that instead of having to pay the whole amount due.

     Q So you would not have paid, period, or you would have
     paid sometime later or what would you have done?

     A I would’ve made a smaller -- smaller payment.

(Id. (152:7 to 152:23).)21


     21   Neither Smith’s attorney nor her mother charged her
interest on the money she owed/owes them. (See id. at 161 (160:16
to 160:17), 154 (153:3 to 153:5).)

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                              DISCUSSION

     I. Relevant Standards

     Different standards apply to the Summary Judgment Motions and

Certification Motion, as discussed below.

     A. Summary Judgment

     “The [C]ourt shall grant summary judgment if the movant shows

that there is no genuine dispute as to any material fact and the

movant is entitled to judgment as a matter of law.”         Fed. R. Civ.

P. 56(a).     A genuine dispute of material fact exists “if the

evidence is such that a reasonable jury could return a verdict for

the nonmoving party.”    Anderson v. Liberty Lobby, Inc., 477 U.S.

242, 248 (1986).   The movant bears the burden of establishing the

absence of such dispute.    Celotex Corp. v. Catrett, 477 U.S. 317,

323 (1986).

     In analyzing a summary judgment motion, the Court “tak[es] the

evidence and all reasonable inferences drawn therefrom in the light

most favorable to the nonmoving party.” Henry v. Purnell, 652 F.3d

524, 531 (4th Cir. 2011) (en banc).     In other words, the nonmoving

“party is entitled ‘to have the credibility of his evidence as

forecast assumed, his version of all that is in dispute accepted,

[and] all internal conflicts in it resolved favorably to him.’”

Miller v. Leathers, 913 F.2d 1085, 1087 (4th Cir. 1990) (en banc)

(brackets in original) (quoting Charbonnages de France v. Smith,

597 F.2d 406, 414 (4th Cir. 1979)).        If, applying this standard,


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the Court “find[s] that a reasonable jury could return a verdict

for [the nonmoving party], then a genuine factual dispute exists

and    summary    judgment   is     improper.”      Evans   v.   Technologies

Applications & Serv. Co., 80 F.3d 954, 959 (4th Cir. 1996).

       However, “[o]nly disputes over facts that might affect the

outcome of the suit under the governing law will properly preclude

the entry of summary judgment.”               Anderson, 477 U.S. at 248.

Moreover,     “the     non-moving    party    may   not   rely   on    beliefs,

conjecture, speculation, or conclusory allegations to defeat a

motion for summary judgment.”           Lewis v. Eagleton, 4:08-cv-2800,

2010 WL 755636, at *5 (D.S.C. Feb. 26, 2010) (citing Barber v.

Hospital Corp. of Am., 977 F.2d 872, 874-75 (4th Cir. 1992)),

aff’d, 404 F. App’x 740 (4th Cir. 2010); see also Pronin v.

Johnson, 628 F. App’x 160, 161 (4th Cir. 2015) (explaining that

“[m]ere conclusory allegations and bare denials” or the nonmoving

party’s “self-serving allegations unsupported by any corroborating

evidence”     cannot    defeat    summary    judgment).     Finally,    factual

allegations in a complaint or court filing constitute evidence for

summary judgment purposes only if sworn or otherwise made under

penalty of perjury.       See Reeves v. Hubbard, No. 1:08cv721, 2011 WL

4499099, at *5 n.14 (M.D.N.C. Sept. 27, 2011), recommendation

adopted, slip op. (M.D.N.C. Nov. 21, 2011).




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     B.   Class Certification

     In addition to seeking partial summary judgment (see Docket

Entry 50 at 1), Plaintiffs seek class certification “pursuant to

Rules 23(a) and 23(b)(3)” (Docket Entry 52 at 1).       Because a class

action represents “an exception to the usual rule that litigation

is conducted by and on behalf of the individual named parties

only,” Califano v. Yamasaki, 442 U.S. 682, 700–01 (1979), parties

“seeking to maintain a class action ‘must affirmatively demonstrate

[their] compliance’ with Rule 23.”      Comcast Corp. v. Behrend, 569

U.S. 27, 33 (2013) (quoting Wal–Mart Stores, Inc. v. Dukes, 564

U.S. 338, 350 (2011)).    As the Supreme Court has explained

     [Rule 23] “does not set forth a mere pleading standard.”
     Rather, a party must not only “be prepared to prove that
     there are in fact sufficiently numerous parties, common
     questions of law or fact,” typicality of claims or
     defenses, and adequacy of representation, as required by
     Rule 23(a).     The party must also satisfy through
     evidentiary proof at least one of the provisions of Rule
     23(b). The provision at issue here is Rule 23(b)(3),
     which requires a court to find that “the questions of law
     or fact common to class members predominate over any
     questions affecting only individual members.”

          Repeatedly, we have emphasized that it may be
     necessary for the court to probe behind the pleadings
     before coming to rest on the certification question, and
     that certification is proper only if the trial court is
     satisfied,   after   a   rigorous   analysis,   that  the
     prerequisites of Rule 23(a) have been satisfied. Such an
     analysis will frequently entail overlap with the merits
     of the plaintiff’s underlying claim. That is so because
     the class determination generally involves considerations
     that are enmeshed in the factual and legal issues
     comprising the plaintiff’s cause of action.

          The same analytical principles govern Rule 23(b).
     If anything, Rule 23(b)(3)’s predominance criterion is

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     even more demanding than Rule 23(a). Rule 23(b)(3), as
     an adventuresome innovation, is designed for situations
     in which class-action treatment is not as clearly called
     for.   That explains Congress’s addition of procedural
     safeguards for (b)(3) class members beyond those provided
     for (b)(1) or (b)(2) class members (e.g., an opportunity
     to opt out), and the court’s duty to take a close look at
     whether common questions predominate over individual
     ones.

Comcast, 569 U.S. at 33–34 (citations and some quotation marks

omitted).

     II. Summary Judgment Motions

     A. Preliminary Matters

     To begin, Plaintiffs “do[] not oppose dismissal of [their]

UDTPA    claim[s].”    (Docket    Entry     65   at   29   (explaining     that

“[d]iscovery has identified that [Defendant’s] actions are covered

by either the NCCAA or NCDCA”); Docket Entry 66 at 27 (same).)

Moreover, because, as discussed below, Defendant does not qualify

as a collection agency under the NCCAA, Plaintiffs cannot maintain

a separate UDTPA claim.         See N.C. Gen. Stat. § 75-56(a) (“The

specific and general provisions of th[e NCDCA] shall exclusively

constitute the unfair or deceptive acts or practices proscribed by

[North Carolina General Statute Section] 75-1.1 in the area of

commerce regulated by th[e NCDCA].”).              Accordingly, the Court

should    grant   Defendant’s     request    for      summary   judgment     on

Plaintiffs’ UDTPA claims.       (See Docket Entry 54 at 2; Docket Entry

55 at 2; see also, e.g., Docket Entry 58 at 29 (asserting that

“Koepplinger’s exclusive remedy is the NCDCA, and [Defendant] is


                                    37




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entitled to summary judgment on his []UDTPA claim”); accord Docket

Entry 59 at 24.)

       Next, the parties dispute the applicability of the NCCAA to

Defendant. (Compare, e.g., Docket Entry 51 at 22-24 (arguing NCCAA

applies to      Defendant),   with,   e.g.,    Docket    Entry    58   at   19-21

(arguing NCCAA does not apply to Defendant).) The NCCAA applies to

any    “[c]ollection    agency,”   defined     as   “a   person   directly    or

indirectly engaged in soliciting, from more than one person[,]

delinquent claims of any kind owed or due or asserted to be owed or

due the solicited person and all persons directly or indirectly

engaged    in   the   asserting,   enforcing    or   prosecuting       of   those

claims,” N.C. Gen. Stat. § 58-70-15(a) (internal quotation marks

omitted).     Plaintiffs maintain that Defendant fits this definition

because it “collects debts owed to third-parties; in this case

[Defendant] collects on behalf of the various trusts created by

Fannie Mae which hold Fannie Mae mortgages and/or the investors in

the mortgage backed securities market managed by Fannie Mae.”

(Docket Entry 51 at 22.) Defendant, however, maintains that it “is

not a ‘collection agency’ subject to the NCCAA because it does not

solicit claims from more than one entity.                Rather, [Defendant]

solicits delinquent claims from only one entity — [Fannie Mae].”

(Docket Entry 58 at 22 (citations omitted).)

       Defendant’s argument possesses merit.             The record reflects

that Defendant solicits mortgages, which may or may not qualify as



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delinquent, for service “[a]lways” (Docket Entry 51-3 at 102

(101:2)) and “exclusively” from Fannie Mae (Docket Entry 51-1 at 17

(16:13)).    The fact that, as Plaintiffs argue (see Docket Entry 51

at   22   n.5),   Fannie   Mae   sells     mortgage-backed   securities     to

investors    either   directly   or   through    trusts   that   Fannie    Mae

establishes, see Lightfoot v. Cendant Mortg. Corp., __ U.S. __, __,

137 S. Ct. 553, 557 (2017); Basics of Fannie Mae Single-Family MBS,

http://www.fanniemae.com/resources/file/mbs/pdf/basics-sf-mbs.pdf

(last visited Apr. 29, 2020), does not alter this conclusion. Most

importantly, Plaintiffs have identified no evidence in the record

indicating that Defendant solicits mortgages or claims from these

trusts or investors as opposed to Fannie Mae.         (See Docket Entry 51

at 22 (citing only Docket Entry 51-1 at 14-15 (13:14 to 14:10));

see also Docket Entry 65 at 21-22 (same); Docket Entry 66 at 19-20

(same).)    To the contrary, the evidence that Plaintiffs cite in

support of their contention reflects that Defendant (1) “only

services loans for Fannie Mae” (2) “[s]ubject to a contract that

[Defendant] had with Fannie Mae.”          (Docket Entry 51-1 at 14 (13:19

to 13:23) (emphasis added).)22




     22 Additionally, it appears unlikely that any such trusts
would qualify as a “person” under the NCCAA. See, e.g., Insurance
- Collection Agencies and Bail Bondsmen, 2001 North Carolina Laws
S.L. 2001-269 (H.B. 356) (replacing, in an act designed to “clarify
the definition of collection agency,” references to “persons,
firms, corporations, and associations” and “person, firm,
corporation[,] or association” with “person” (all-cap font
omitted)).

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       Further, the fact that Defendant “collected debt (e.g., late

fees) owed to Plaintiffs’ prior servicers, CitiMortgage, Inc. and

Chase Bank, N.A.” (Docket Entry 51 at 22), does not in and of

itself render it a covered collection agency.         Again, Plaintiffs

have identified no evidence in the record reflecting that Defendant

solicited those debts from CitiMortgage and Chase Bank, as the

NCCAA requires, see N.C. Gen. Stat. § 58-70-15(a).           (See Docket

Entry 51 at 22; see also Docket Entry 65 at 21-22; Docket Entry 66

at 19-20.)      As such, the fact that Defendant collected — and

apparently retained (see Docket Entry 51 at 4 (asserting, as an

undisputed fact in support of Plaintiffs’ Motion, that Defendant’s

“compensation includes late charges and fees assessed to borrowers,

including unpaid fees owed to prior servicers”)) — fees that

remained outstanding at the time Defendant acquired servicing

rights to a loan from Fannie Mae does not transform it into a

collection agency under the NCCAA.

       In sum, the record establishes that, rather than “engag[ing]

in soliciting, from more than one person,” Defendant solicited from

only    “one   person[,   namely,   Fannie   Mae,]   delinquent   claims”

allegedly “due the solicited person,” N.C. Gen. Stat. § 58-70-15(a)

(emphasis added).     Accordingly, Defendant does not qualify as a

collection agency under the NCCAA, see id.23           The Court should


     23 As such, the Court need not resolve whether amendments to
the list of entities exempted from the ambit of the NCCAA
collection agency definition under North Carolina General Statute
Section 58-70-15(c) in 2017 qualify as clarifying, as Defendant

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therefore    grant    Defendant’s    request     for   summary     judgment   on

Plaintiffs’ NCCAA claims.

      Finally, Defendant maintains that the FDCPA does not apply to

Koepplinger’s claim, on the theory that “Koepplinger’s loan was

current when [Defendant] acquired servicing rights.” (Docket Entry

58    at   7.)       More    specifically,       Defendant    contends     that

“Koepplinger’s     FDCPA    claim   fails   as   a   matter   of   law   because

Koepplinger was not in default when [Defendant] began servicing his

loan, exempting [Defendant] from ‘debt collector’ status under the

FDCPA.”     (Id. at 8.)     Plaintiffs dispute this contention.           (See,

e.g., Docket Entry 65 at 6-8.) In this regard, though, Plaintiffs’

arguments fall short.

      The FDCPA governs the conduct of “debt collectors.”                See 15

U.S.C. § 1692e; 15 U.S.C. § 1692g; see also Church v. Accretive

Health, Inc., No. CV 14-0057, 2015 WL 7572338, at *8 (S.D. Ala.

Nov. 24, 2015) (“On their face, both § 1692e and § 1692g regulate

only the conduct of ‘debt collectors.’”), aff’d, 654 F. App’x 990

(11th Cir. 2016).      The term “‘debt collector’ is a term of art in

the FDCPA.”      Ausar-El ex rel. Small, Jr. v. BAC (Bank of Am.) Home

Loans Servicing LP, 448 F. App’x 1, 2 (11th Cir. 2011).                       As

relevant here, the FDCPA expressly excludes from its definition of

“debt collector” any person attempting to collect “a debt which was




contends (see, e.g., Docket Entry 68 at 17-19), or altering, as
Plaintiffs maintain (see, e.g., Docket Entry 73 at 7-10).

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not in default at the time it was obtained by such person.”              15

U.S.C. § 1692a(6)(F)(iii).24    However:

     [T]he term “default” is not defined in the FDCPA, leaving
     courts to apply the statute without congressional
     guidance as to the meaning of this pivotal term.       In
     practice, where a contract between the originating
     creditor and the consumer delineates when the account
     will be deemed defaulted, or where some other applicable
     statute or regulation fixes the precise moment of
     default, courts have generally held that such agreements
     or legal provisions dictate when an account is “in
     default” for FDCPA purposes.

Church, 2015 WL 7572338, at *8; see also id. at *9 (explaining that

“a helpful body of precedent” exists for situations lacking such

guidance as to the precise moment of default, wherein, inter alia,

“courts have repeatedly distinguished between a debt that is in




     24 Courts have explained the rationale underlying the “not in
default” exception as follows:

     “If the loan is current when it is acquired, the
     relationship between the assignee and the debtor is, for
     purposes of regulating communications and collections
     practices, effectively the same as that between
     originator and the debtor. If the loan is in default, no
     ongoing relationship is likely and the only activity will
     be collection.” F.T.C. v. Check Investors, Inc., 502
     F.3d 159, 174 (3rd Cir. 2007) (quoting Schlosser v.
     Fairbanks Capital Corp., 323 F.3d 534, 538 (7th Cir.
     2003)); see also Ruth [v. Triumph P’ships], 577 F.3d
     [790,] 797 [(7th Cir. 2009)] (“The purchaser of an
     already-defaulted debt — like the debt collector, and
     unlike the originator and servicer of a non-defaulted
     debt — has no ongoing relationship with the debtor and,
     therefore, no incentive to engender good will by treating
     the debtor with honesty and respect.”).

Church, 2015 WL 7572338, at *9.


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default and a debt that is merely outstanding” (internal quotation

marks omitted)).

       Defendant contends that such logic applies here.              (See Docket

Entry 58 at 8-9.)       In particular, Defendant asserts that, because

Koepplinger’s Note specifies that a default occurs if Koepplinger

fails    to   timely   pay   his   monthly       payment,   consisting     of   his

principal and interest, and separately discusses late charges,

Koepplinger “was not in default under the terms of his Note when

[Defendant] acquired servicing rights on February 1, 2014” (id. at

8).      (See   id.    at   8-9;   see    also    Docket    Entry   51-9   at   2-3

(Koepplinger’s Note).)         “Yet,” according to Plaintiffs, “that is

not how [Defendant] treated Koepplinger’s loan at the time it was

transferred to [Defendant].”             (Docket Entry 65 at 7 (emphasis in

original) (citing Bridge v. Ocwen Fed. Bank, FSB, 681 F.3d 355, 360

n.4 (6th Cir. 2012)); see also id. at 8 (“Simply put, Koepplinger’s

loan was delinquent at the time of transfer and treated as in

default by [Defendant].”).)25            And, Plaintiffs assert, “‘[a] loan




     25 In this regard, Plaintiffs emphasize that (1) Koepplinger
remained delinquent on his late fees at the time of transfer,
(2) Koepplinger remained several mortgage payments in arrears when
CitiMortgage sent its preliminary data set to Defendant and nothing
in Koepplinger’s loan file reflects that CitiMortgage notified
Defendant of Koepplinger’s subsequent mortgage payments before the
final data set transfer deadline after Defendant acquired
Koepplinger’s loan, (3) Defendant characterized the outstanding
late fees as part of his overdue monthly payment in a letter to
Koepplinger, and (4) Defendant’s NC Final Letters include late fees
and other charges in the amount they identify as necessary to “cure
the default” (id. at 7 (emphasis omitted)). (Id. at 6-8.)

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servicer will become a debt collector under 1692a(6)(F)(iii) if the

debt was in default or treated as such when it was acquired.’”

(Id. at 6 (emphasis in original) (quoting Yarney v. Ocwen Loan

Servicing, LLC, 929 F. Supp. 2d 569, 575 (W.D. Va. 2013)).)26

     The    line       of    cases      upon   which       Plaintiffs   rely     for    this

assertion apply awkwardly here, as they involve situations where

the defendant mistakenly treated a current or closed account as

defaulted.         See,      e.g.,      Bridge,      681    F.3d   at   357    (involving

erroneously      dishonored            mortgage     payment    checks);       Yarney,    929

F. Supp. 2d at 572 (involving Wells Fargo servicer who continued to

demand payment of mortgage where the “[p]laintiff no longer owned

the deed or owed any debt to Wells Fargo”).                    However, even applying

this approach, Koepplinger’s account did not qualify as defaulted

when Defendant obtained it.               For instance, rather than immediately

sending an NC Final Letter regarding the outstanding late fees,

Defendant       first       sent   a    letter      to   Koepplinger     regarding       his

outstanding February mortgage payment.                      (See Docket Entry 51-1 at

88 (87:9 to 87:18).)

     Although this letter mistakenly includes the late fees in the

amount     of    the        outstanding        mortgage      payment,     it    adopts     a

conciliatory tone more indicative of an entity envisioning an




     26 Defendant disputes this understanding of the FDCPA. (See
Docket Entry 74 at 8 (contending that FDCPA imposes “a bright-line
rule, rather than an amorphous, subjective test based on how a
particular defendant ‘treated’ a loan”).)

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ongoing relationship rather than strictly collection activity.

(See id. (87:13 to 87:16 (“Dear Koepplinger, Kenneth, we are

concerned that we have not received your mortgage payment of

$1,505.40, which was due on February 1st, 2014.”)).)                Further,

Defendant    waited   until   March    16,    2014,   the   45th   day   after

Koepplinger missed his February mortgage payment, to send his first

NC Final Letter. (See Docket Entry 39-1; Docket Entry 53-6 at 12.)

By contrast, Defendant sent an NC Final Letter to Smith a mere

fortnight after acquiring her (unquestionably defaulted) loan for

servicing. (See Docket Entry 39-16.) Accordingly, the record does

not support a finding that Defendant treated Koepplinger’s loan as

defaulted at the time of acquisition.

      The same conclusion arises if one focuses solely on the

outstanding late charges.       Koepplinger’s Note does not specify a

deadline by which he had to pay outstanding late charges.                (See

Docket Entry 51-9 at 2 (specifying only that borrower “will pay [a]

late charge promptly”).)       Notwithstanding the language in the NC

Final Letters, Defendant also imposes no deadline by which one must

pay a late fee.    (See Docket Entry 51-1 at 99-103 (98:8 to 102:8).)

The record thus does not support a finding that Koepplinger’s late

fees, although admittedly outstanding, qualified as “in default”

when Defendant obtained his loan.          See Church, 2015 WL 7572338, at

*9   (discussing    distinction    between    outstanding    and   defaulted

debts).



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     In short, Koepplinger’s loan did not qualify as “in default”

when Defendant obtained it.     Defendant therefore does not qualify

as a “debt collector” under the FDCPA as to Koepplinger.           See 15

U.S.C. § 1692a(6)(F)(iii).      As a result, the Court should grant

Defendant’s request for summary judgment on Koepplinger’s FDCPA

claim.

     B.   Smith’s FDCPA Claim

     By contrast, Defendant qualifies as a debt collector under the

FDCPA in connection with Smith’s loan.       (See Docket Entry 51-1 at

127-29 (126:6 to 128:10).)27 Defendant contends, however, that “the

evidence fails to support [her FDCPA] claim” (Docket Entry 59 at

6), on the theory that the NC Final Letters contain no material




     27 In addition, Smith satisfies the first element of an FDCPA
claim, namely that she “‘has been the object of collection activity
arising from consumer debt,’” Boosahda v. Providence Dane LLC, 462
F. App’x 331, 333 n.3 (4th Cir. 2012) (explaining that an FDCPA
claim requires that “‘(1) the plaintiff has been the object of
collection activity arising from consumer debt; (2) the defendant
is a debt collector as defined by the FDCPA; and (3) the defendant
has engaged in an act or omission prohibited by the FDCPA’”). See
15 U.S.C. § 1692a(3) (defining consumer as “any natural person
obligated or allegedly obligated to pay any debt”); 15 U.S.C.
§ 1692a(5) (defining debt as “any obligation or alleged obligation
of a consumer to pay money arising out of a transaction in which
the money, property, insurance, or services which are the subject
of the transaction are primarily for personal, family, or household
purposes”); see also Newman v. Boehm, Pearlstein & Bright, Ltd.,
119 F.3d 477, 481 (7th Cir. 1997) (observing that, where
transactions involved “the purchase of the family homes, . . .
there can be little doubt that the subject of those transactions
had a personal, family, or household purpose” as required to
qualify as a debt under the FDCPA).

                                   46




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misrepresentations (see id. at 6-15).          As discussed below, this

contention lacks merit.

     “The FDCPA protects consumers from abusive and deceptive

practices    by   debt   collectors,   and   protects   non-abusive   debt

collectors   from   competitive   disadvantage.”        United   States   v.

National Fin. Servs., Inc., 98 F.3d 131, 135 (4th Cir. 1996).             To

this end, “Section 1692e forbids the use of ‘any false, deceptive,

or misleading representation or means’ in debt collection,” id.,

including:

     (5) The threat to take any action that cannot legally be
     taken or that is not intended to be taken.

     * * * * * *

     (10) The use of any false representation or deceptive
     means to collect or attempt to collect any debt or to
     obtain information concerning a consumer.

Id. (internal quotation marks omitted) (alteration in original).28

     “Whether a communication is false, misleading, or deceptive in

violation of [Section] 1692e is determined from the vantage of the

‘least sophisticated consumer.’”        Powell v. Palisades Acquisition


     28 Although the Second Amended Complaint omits the language
of Section 1692e(5) from its paragraph specifying the “pertinent
part” of the FDCPA (Docket Entry 39, ¶ 115), it alleges, inter
alia, that “[Defendant] has attempted to collect debt in violation
of 15 U.S.C. § 1692e, in that it . . . threatened action it did not
intend to take; and threatened to take action that it could not
legally take” (id., ¶ 116) and “[Defendant] has attempted to
collect debt in violation of 15 U.S.C. § 1692e, in that it has
threatened to take action, including acceleration and foreclosure,
when it had no intention of taking such measures” (id., ¶ 120).
Accordingly, contrary to Defendant’s contention (see Docket Entry
75 at 9 n.3), the Second Amended Complaint fairly raises a claim
for violation of Section 1692e(5).

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XVI,    LLC,   782    F.3d    119,      126   (4th     Cir.    2014)    (some    internal

quotation      marks     omitted).              “The     basic       purpose     of    the

least-sophisticated-consumer standard is to ensure that the FDCPA

protects all consumers, the gullible as well as the shrewd.”

National Fin., 98 F.3d at 136 (internal quotation marks omitted).29

In analyzing an alleged misstatement from this perspective, the

Court    “consider[s]        how   a    naive      consumer     would   interpret      the

statement.” Elyazidi v. SunTrust Bank, 780 F.3d 227, 234 (4th Cir.

2015) (internal quotation marks omitted).

       To sustain a Section 1692e claim, a misstatement must qualify

as   “material,”      which    means      that      it   must    either   possess      the

potential      to    “frustrate        [the   least      sophisticated]        consumer’s

ability to intelligently choose his or her response,” Powell, 782

F.3d at 126 (internal quotation marks omitted), or constitute the

kind of     misstatement       that      “would      have     been   important    to   the

consumer in deciding how to respond to efforts to collect the

debt,” id. at 127 (emphasis in original).                       Finally, “evidence of

actual deception is unnecessary[;]” rather, “the test is the

capacity of the statement to mislead.”                   National Fin., 98 F.3d at

139 (discussing Section 1692e(10) violation); see also Neild v.

Wolpoff & Abramson, L.L.P., 453 F. Supp. 2d 918, 923 (E.D. Va.



     29   “While protecting naive consumers, the standard also
prevents liability for bizarre or idiosyncratic interpretations of
collection notices by preserving a quotient of reasonableness and
presuming a basic level of understanding and willingness to read
with care.” Id.

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2006)   (observing    that    “a   plaintiff   asserting    a     claim    under

[Section]   1692e    need    not   prove   actual    reliance     on   a   false

representation”).30

     Here, the undisputed evidence establishes that:

     Defendant sends NC Final Letters to borrowers who become 45 to

60 days’ delinquent on their mortgages.         (Docket Entry 51-6 at 45

(44:11 to 44:14).)    Defendant usually sends such letters closer to

45 days’ delinquency.       (See id. (44:11 to 44:17).)      These NC Final

Letters specify that the borrower must pay a specific “Amount Due”

(also called a “default amount”) by a certain “‘Expiration Date.’”

(Docket Entry 51-4 at 2.)          The “Amount Due” includes outstanding

“late fees, insufficient funds (NSF) fees, and other fees and

advances” (id. at 4).         (See id. at 2.)         The NC Final Letter

“demand[s] that [the borrower] bring [her] loan current (‘cure the

default’) by paying the [A]mount [Due].”            (Id. at 2.)    It further

states:

     If full payment of the default amount is not received by us in
     the form of a certified check, cashier’s check, or money order


     30    Relying on out-of-circuit precedent dealing with a
separate provision of the FDCPA, Defendant maintains that
Plaintiffs must produce “‘evidence of confusion (beyond their own)
in the form of an objective measure, like “a carefully designed and
conducted consumer survey.”’” (Docket Entry 59 at 11 (quoting Sims
v. GC Servs. L.P., 445 F.3d 959, 963 (7th Cir. 2006)).)         For
violations of Section 1692e, however, “the test [in this Circuit]
is the capacity of the statement to mislead; evidence of actual
deception is unnecessary.” National Fin., 98 F.3d 139; see also
id. (explaining that “[t]he district court considered the impact of
the defendants’ notices on the ‘least sophisticated consumers,’ and
correctly concluded that the false threats that legal action would
be taken also violated § 1692e(10)”).

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       on or before the Expiration Date, [Defendant] will accelerate
       the maturity date of [the] loan and upon such acceleration the
       ENTIRE indebtedness of the loan, including principal, accrued
       interest, and all other sums due thereunder, shall, at once
       and without further notice, become immediately due and
       payable. Acceleration of the sums secured by the mortgage
       also may result in the sale of the premises. Any such action
       will not take place before 45 days from the date of this
       notice.

       If [the borrower] send[s] only a partial payment, the loan
       still will be in default and [Defendant] may keep the payment
       and still will accelerate the maturity date.

       IF THE DEFAULT IS NOT CURED ON OR BEFORE THE EXPIRATION DATE,
       [Defendant] AND THE LOAN OWNER INTEND TO ENFORCE THE LOAN
       OWNER’S RIGHTS AND REMEDIES AND MAY PROCEED WITHOUT FURTHER
       NOTICE TO COMMENCE FORECLOSURE PROCEEDINGS.       FORECLOSURE
       PROCEEDINGS WILL NOT BE COMMENCED UNLESS AND UNTIL ALLOWED BY
       APPLICABLE LAW. ADDITIONAL FEES SUCH AS FORECLOSURE COSTS AND
       LEGAL FEES MAY BE ADDED PURSUANT TO THE TERMS OF THE LOAN
       DOCUMENTS.

(Id. at 2 (emphasis in original).)

       The NC Final Letter then itemizes the Amount Due.        (See id. at

4.)    Finally, its default section concludes by stating:

       [The borrower] ha[s] the right to reinstate [the] loan
       after acceleration and the right to bring a court action
       or assert in the foreclosure proceedings the nonexistence
       of a default or any other defense to acceleration and
       sale.   If [the borrower] reinstate[s the] loan after
       acceleration, the loan no longer will be immediately due
       in full.

(Id. at 4.)

       The NC Final Letters in the record and the testimony of

Defendant’s pre-foreclosure employee who handled North Carolina

reflect that Defendant employed a 50-day Expiration Date in North

Carolina.     (See Docket Entries 39-1 to 39-12; Docket Entries 39-16

to 39-19; Docket Entry 51-3 at 34 (33:2 to 33:6); Docket Entry 51-4


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at 2; Docket Entry 53-5 at 2, 10; Docket Entry 53-7 at 2, 5, 8, 11;

Docket Entry 56-11 at 2, 6, 9, 18.)       However, Defendant (through

its designated corporate witness) also testified that it used a 30-

day Expiration Date for North Carolina.       (See, e.g., Docket Entry

51-6 at 25 (24:21 to 24:24); see also id. at 7 (6:1 to 6:12

(discussing witness’s role)).)     Regardless, failure to pay any or

all of the Amount Due by the Expiration Date “doesn’t actually

trigger anything” (Docket Entry 51-3 at 78 (77:24)).         (See, e.g.,

id. (77:14 to 77:25).)31     Instead, if a borrower makes either a

partial payment of the Amount Due32 by the Expiration Date, or a

full or partial payment of the Amount Due following the Expiration

Date and prior to the 122nd day of delinquency (see id. at 66 (65:10

to 65:17)), “[t]he whole process starts over” (id. at 58 (57:18))

and Defendant sends a new NC Final Letter when the account becomes

45 days past due.   (See id. at 58 (57:6 to 57:24); see also id. at

51 (50:2 to 50:10 (explaining that, in North Carolina, “when the



     31 Although the NC Final Letters do not alert borrowers to
this fact (see generally Docket Entry 51-4), if the NC Final Letter
contains a 30-day Expiration Date, full payment of the Amount Due
by the Expiration Date enables transfer of the loan out of the pre-
foreclosure department and into the customer service department for
servicing (see Docket Entry 51-3 at 87 (86:10 to 86:16)).

     32 It remains unclear whether, for borrowers not identified
with the X-Y code as problematic, Defendant imposes some minimal
threshold for an acceptable partial payment or whether any amount
(e.g., 1 cent, $5, etcetera) suffices. (See, e.g., id. at 51 (50:2
to 50:3 (“If a payment is received in the state of North Carolina,
a new NOI will be sent.”)), 58 (57:20 to 57:24 (confirming that,
“if a customer in North Carolina makes a payment in response to an
NOI, the whole process just starts over”)).)

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customer makes a payment and they’re still in arrears, a new NOI

will be generated and sent to the customer . . . . [a]s soon as the

payment is applied”)).)

      Moreover, Defendant can only refer a loan to foreclosure once

it   reaches     at    least   120   days’       delinquency.        See    12     C.F.R.

§ 1024.41(f)(1)(i).33           As such, Defendant refers loans to its

foreclosure      department       between    120    and     126   days’    delinquency

(Docket Entry 51-3 at 43 (42:15 to 42:22)), although it typically

applies a one-day grace period, waiting until at least the 121st day

for such referrals (see, e.g., id. at 20 (19:13 to 19:14), 44 (43:8

to 43:10); Docket Entry 51-6 at 22-23 (21:20 to 22:18)).                              The

referral    to    the    foreclosure        department       triggers      the     loan’s

acceleration.           (Docket    Entry     51-6      at   30-34   (29:5     to    33:3

(discussing foreclosure and acceleration process, explaining that

(1) “once the account is referred to foreclosure, that would be the

acceleration      of    the    loan,”   (2)      “in    [Defendant’s]       eyes,    the

acceleration of the loan takes place at that point in which it’s

referred from pre-foreclosure to foreclosure,” and (3) “what is

accelerating the maturity date of the loan is that transfer” from

pre-foreclosure to foreclosure)); see also Docket Entry 51-1 at

142-43 (141:21 to 142:1 (“The referral of the loan to attorneys to

begin foreclosure is the step to accelerate the loan? . . .

Yes.”)).)      Notably, failure to pay outstanding late fees and other


     33 Defendant’s internal policy recognizes as much.                          (Docket
Entry 51-6 at 76-78 (75:3 to 77:9).)

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expenses causes neither transfer to the pre-foreclosure department

nor foreclosure itself.           (See, e.g., Docket Entry 51-1 at 87-88

(86:3    to    87:3),    99-102   (98:10       to   101:1),     109-15    (108:14   to

114:11).)

       Finally, a borrower may reinstate a loan after a foreclosure

referral.        (See,    e.g.,   Docket       Entry    51-9    at   40   (discussing

reinstatement right in Smith’s Deed of Trust); Docket Entry 66-8

(Smith reinstatement letters).)               However, if a borrower reinstates

a loan, the borrower must pay all intervening outstanding monthly

payments, late fees, attorney’s fees, and any other expenses

Defendant incurs in connection with the foreclosure.                      (See Docket

Entry 51-9 at 40; see also Docket Entry 66-8 at 2, 4-8, 10-13.)

       Given     this    evidence,      the    NC   Final      Letters    qualify   as

materially misleading, false, and deceptive under the FDCPA.                        For

instance, although Defendant cannot accelerate or foreclose on a

loan for failure to pay late fees and other expenses, the NC Final

Letters demand full payment of such moneys as part of the Amount

Due on pain of acceleration and foreclosure. In addition, contrary

to the NC Final Letter’s representation that, “[i]f full payment of

the    default    amount    is    not   received       by   [Defendant]”     by   “the

Expiration Date, [Defendant] will accelerate the maturity date of

[the] loan,” which “may result in the sale of the premises” (Docket

Entry 51-4 at 2), a borrower need only make a partial payment

before the Expiration Date or a full or partial payment after the



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Expiration    Date   to   forestall        acceleration   and   foreclosure.

Finally, the NC Final Letter indicates that Defendant may proceed

with the acceleration and foreclosure as early as “45 days from the

date of [the NC Final Letter]” (id.) even though Defendant cannot

refer a loan to foreclosure, thereby accelerating the loan, until

at least 60 days from the date of the NC Final Letter.34

     In short, the NC Final Letter contains misrepresentations that

“would have been important to the consumer in deciding how to

respond to efforts to collect the debt,” Powell, 782 F.3d at 127

(emphasis in original), and also threatens “action[s] that cannot

legally be taken or that [are] not intended to be taken,” 15 U.S.C.

§ 1692e(5).    Accordingly, the NC Final Letter violates Section

1692e.   See, e.g., Hall v. Nationstar Mortg., LLC, 255 F. Supp. 3d

625, 632 (E.D. Pa. 2015) (finding Section 1692e(5) violation where




     34 These undisputed facts outlined above hold true even for
those borrowers whose payments Defendant rejected. First, these
borrowers received the same misrepresentations regarding the
quantity of the Amount Due and the potential for acceleration and
foreclosure as soon as 45 days after the NC Final Letter. These
borrowers also received the same misrepresentations regarding the
full/partial payment options and deadline.       For instance, if
Defendant sent the NC Final Letter at 45 days’ delinquency with a
30-day Expiration Date, a borrower could make a partial payment
(e.g., one of the two months’ overdue payments identified in the
Amount Due) through at least the Expiration Date to avoid rejection
under Defendant’s employee’s policy of accepting payments that
bring an account less than 60 days’ overdue. By way of further
example, even assuming a letter mailed at 60 days’ delinquency with
a 50-day Expiration Date, the borrower would have an additional 10
days past the Expiration Date to pay the component of the Amount
Due attributable to mortgage and escrow payments (i.e., monthly
payments) to avoid acceleration and foreclosure.

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the defendants “assert[ed] the possibility of something [i.e., a

Sheriff’s Office sale within three month] that simply was not going

to occur, even if it could technically occur,” explaining that, due

to Sheriff’s Office practices, the assertion that “a Sheriff’s sale

could occur within three months . . . . would be untrue as a

factual matter”); Morgan v. Credit Adjustment Bd., Inc., 999 F.

Supp. 803, 808 (E.D. Va. 1998) (finding Section 1692e(10) violation

where    “the      notice    could     easily      be    interpreted    by    the    least

sophisticated consumer as creating a false sense of urgency”

(citing “The        FTC     Official    Staff        Commentary   on    the   Fair    Debt

Collection Practices Act, 53 Fed. Reg. 50097-50110 (1988) (stating

that ‘[i]t is a violation to send any communication that conveys to

the     consumer     a      false     sense     of      urgency’)”     (alteration      in

original))).

       Defendant’s arguments to the contrary do not alter this

conclusion.         First,     Defendant’s         contentions    regarding     Smith’s

alleged lack of reliance on the NC Final Letters (see, e.g., Docket

Entry    59   at    11-12)     fall    short       because   Smith     need   not    prove

reliance.       See National Fin., 98 F.3d at 139 (“[T]he test is the

capacity of the statement to mislead; evidence of actual deception

is unnecessary.”); Neild, 453 F. Supp. 2d at 923 (observing that “a

plaintiff asserting a claim under [Section] 1692e need not prove

actual reliance on a false representation”).




                                              55




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     Defendant further maintains that the NC Final Letters cannot

qualify as deceptive because Defendant intended to accelerate a

loan if it reached 121 days delinquency and, because “the [NC

Final] Letters are silent as to what date acceleration will occur,

. . . postponing acceleration based on receipt of a payment never

changed    the   intent.”       (Docket     Entry    59   at   8   (emphasis   in

original).) As part of this argument, Defendant emphasizes that if

a borrower made a partial payment “the loan would never leave

[Defendant’s] pre-foreclosure servicing process, and would remain

on the path toward acceleration until it reached 121 days past

due.”     (Id. (emphasis in original).)35            However, this argument

overlooks   the   fact   that    the   NC    Final    Letters      indicate   that

acceleration and foreclosure may occur as soon as 45 days from the

date of the NC Final Letter.           (See Docket Entry 51-4 at 2.)           In

reality, though, using the latest possible date for sending the NC

Final Letter and the longest possible Expiration Date, Defendant



     35 In this regard, Defendant maintains that “the Expiration
Date is not meaningless. A payment of the Default Amount made on
or before the Expiration Date would be sufficient to bring the loan
current, and remove the loan from the pre-foreclosure servicing
department.” (Docket Entry 68 at 12.) Notably, this assertion
remains true only for an NC Final Letter containing a 30-day
Expiration Date, whereas Plaintiffs’ NC Final Letters contained a
50-day Expiration Date. In any event, the NC Final Letters contain
no information regarding the prospect of moving servicing of one’s
loan from the pre-foreclosure department to the customer service
department.   (See generally Docket Entry 51-4.)     Instead, they
discuss the prospect of acceleration and foreclosure if full
payment of the Amount Due does not occur by the Expiration Date.


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could not accelerate a loan until at least 60 days from the date of

the NC Final Letter, a date at least 10 days after the Expiration

Date.   Thus, the NC Final Letters create a false sense of urgency,

in violation of the FDCPA.     See Morgan, 999 F. Supp. at 808.

       In addition, contrary to the representation in the NC Final

Letter, “partial payment” would trigger another NC Final Letter,

not acceleration.      In other words, if a borrower responded to one

NC Final Letter by making a partial payment, the result would be

another NC Final Letter, not acceleration.       Finally, the NC Final

Letter represents that acceleration “will” occur if the borrower

fails to make “full payment of the default amount” (Docket Entry

51-4 at 2), which amount contains late fees and other charges (see

id. at 2, 4).    However, Defendant does not accelerate a loan for

failure to pay such fees (see, e.g., Docket Entry 51-1 at 87 (86:3

to 86:19), 109-10 (108:14 to 109:23)), making this representation

an improper threat under the FDCPA.      See Hall, 255 F. Supp. 3d at

632.    In any event, at a minimum, the fact that the borrower

(1) had longer to pay before Defendant could accelerate the loan

and (2) could pay a lesser amount than the specified Amount Due

without   triggering    acceleration,   constitutes   information    that

“would have been important to the consumer in deciding how to

respond to efforts to collect the debt,” Powell, 782 F.3d at 127

(emphasis in original).




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       Defendant     also   argues     that   the      NC    Final   Letter’s

representations       regarding   acceleration      “[are]     not   material”

because:

       The [NC Final] Letters disclose that the consumer has the
       right to reinstate the loan after acceleration, making
       the loan no longer due in full. Therefore, the “will
       accelerate” language is not material because the customer
       could bring her loan current after acceleration — just as
       she could before the Expiration Date — by paying the
       “Amount Due” and, thus, avoid foreclosure, just as Smith
       did.

(Docket Entry 59 at 9 (citation omitted).)                  This argument too

fails.     First, the record facts belie Defendant’s contention that

a borrower could reinstate her loan by paying only the Amount Due

specified in the letter.       (See, e.g., Docket Entry 51-9 at 40; see

also Docket Entry 66-8 at 2, 4-8, 10-13.)           Rather, to reinstate a

loan, a borrower would have to pay additional monthly payments,36

late charges, attorney’s fees, and other expenses associated with

the    foreclosure.      (Compare,    e.g.,   Docket    Entry    39-16   at   2

(specifying, in Smith’s first NC Final Letter, Amount Due of

$1,968.02 for missed payments beginning on July 1, 2014 (see Docket

Entry 51-1 at 127-29 (126:13 to 128:10))), with Docket Entry 66-8

at 2-7 (demanding, in associated reinstatement letter, $17,248.88

to reinstate loan for missed payments beginning on July 1, 2014).)



     36   Because Defendant sends the NC Final Letters once a
borrower reaches 45 to 60 days’ delinquency, an NC Final Letter
reflects two months’ overdue monthly payments and charges.       As
Defendant cannot accelerate a loan until it reaches four months’
overdue, the right to reinstatement involves, at a minimum, payment
of two additional overdue monthly payments.

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Accordingly, knowing that one could make a partial payment of the

Amount Due before the Expiration Date or a full or partial payment

of the Amount Due after the Expiration Date to avoid acceleration,

rather than having to pay a much higher price to reinstate a loan

after acceleration, “would have been important to the consumer in

deciding how to respond to efforts to collect the debt,” Powell,

782 F.3d at 127 (emphasis in original).

       Defendant’s        arguments      regarding      the       foreclosure

representations (see Docket Entry 59 at 12-13) fare no better.              To

begin, Defendant’s assertion that the NC Final “Letters contain no

material misrepresentation because they disclose that the borrower

has    the   right   to   reinstate    the   loan,   which     would   prevent

foreclosure” (id. at 13), cannot stand for the reasons previously

discussed.       Moreover, Defendant’s contention that the NC Final

Letters contain no misrepresentations regarding foreclosure because

the    letters    speak    only   of   the   conditional      possibility   of

foreclosure (see id. at 12-13) overlooks two important aspects of

the NC Final Letters.        First, the NC Final Letters provide that

“sale of the premises” may occur as soon as “45 days from the date

of th[e NC Final Letter].”        (Docket Entry 51-4 at 2.)       In reality,

though, foreclosure cannot occur until at least 60 days from the

date of the NC Final Letter.           The fact that the NC Final Letter

later states that “[f]oreclosure proceedings will not be commenced

unless and until allowed by applicable law” (id. (all-cap font


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omitted)) does nothing to reduce this false sense of urgency, as

the    NC   Final   Letters   do   not    disclose   that   Defendant   cannot

foreclose on a home until it qualifies as at least 120 days’

delinquent (see id. at 2, 4, 6, 8).            Second, the NC Final Letter

falsely states that, “[i]f the default is not cured on or before

the Expiration Date, [Defendant] . . . may proceed without further

notice to commence foreclosure proceedings” (id. at 2 (all-cap font

omitted)), because, as discussed, the default amount includes late

fees and other charges, and Defendant never forecloses on a loan

for failure to pay such charges.              Thus, the NC Final Letter’s

representations regarding foreclosure violate the FDCPA.                  See,

e.g., Hall, 255 F. Supp. 3d at 632; Morgan, 999 F. Supp. at 808.37



     37 In its reply in support of its Second Motion, Defendant
cites Fisher v. Seterus, Inc., No. 19-CV-1382, 2019 WL 5865605, at
*6 (D. Minn. Oct. 21, 2019), report and recommendation adopted, No.
19-CV-1382, 2019 WL 5865449 (D. Minn. Nov. 8, 2019) and Moore v.
Seterus, Inc., No. CV 15-0612, 2016 WL 7374651, at *18 (S.D. Ala.
Dec. 16, 2016), aff’d, 711 F. App’x 575 (11th Cir. 2017), in
support of its contention that the NC Final Letters do not contain
material misrepresentations regarding foreclosure.     (See Docket
Entry 75 at 11-12.) However, these decisions do not support that
conclusion. For one, neither decision suggests that the relevant
letters (sent to Minnesota and Alabama residents) contain the NC
Final Letter’s representation that “[a]ny such action will not take
place before 45 days from the date of this notice” (Docket Entry
51-4 at 2). For instance, Fisher quotes the Minnesota letter as
stating:

       Failure to cure the default will result in acceleration
       of the sums secured by the mortgage and may result in the
       sale of the property securing the loan. If you send only
       a partial payment, the loan still will be in default.
       Additionally, we may keep the payment and accelerate the
       maturity date.


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     In sum, the record establishes that the NC Final Letters

qualify   as   “false,   misleading,    or   deceptive   in   violation   of

[Section] 1692e” the FDCPA.       Powell, 782 F.3d at 126 (internal

quotation marks omitted). The Court should therefore grant Smith’s

request for summary judgment on her Section 1692e claim.38


     IF THE DEFAULT IS NOT CURED ON OR BEFORE THE EXPIRATION
     DATE, THE LOAN OWNER AND WE INTEND TO ENFORCE THE LOAN
     OWNER’S RIGHTS AND REMEDIES AND MAY PROCEED WITHOUT
     FURTHER NOTICE TO COMMENCE FORECLOSURE PROCEEDINGS.
     FORECLOSURE PROCEEDINGS WILL NOT BE COMMENCED UNLESS AND
     UNTIL ALLOWED BY APPLICABLE LAW ....

Id., 2019 WL 5865605, at *1 (ellipsis and all-cap font in
original).   Moore likewise contains no reference to a 45-day
period, and instead recounts the “relevant part” of the Alabama
letter as:

     IF THE DEFAULT IS NOT CURED ON OR BEFORE THE EXPIRATION
     DATE, THE LOAN OWNER AND WE INTEND TO ENFORCE THE LOAN
     OWNER’S RIGHTS AND REMEDIES AND MAY PROCEED WITHOUT
     FURTHER NOTICE TO COMMENCE FORECLOSURE PROCEEDINGS.
     FORECLOSURE PROCEEDINGS WILL NOT BE COMMENCED UNLESS AND
     UNTIL ALLOWED BY APPLICABLE LAW. ADDITIONAL FEES SUCH AS
     FORECLOSURE COSTS AND LEGAL FEES MAY BE ADDED PURSUANT TO
     THE TERMS OF THE LOAN DOCUMENTS.

Id., 2016 WL 7374651, at *18. Moreover, neither decision addresses
the issue presented here of threatening acceleration and
foreclosure for failure to pay outstanding late fees and charges.
See generally Fisher, 2019 WL 5865605; Moore, 2016 WL 7374651.

     38 Smith bases her Section 1692f claim on the same conduct as
her Section 1692e claim.    (See Docket Entry 39, ¶¶ 108-28; see
also Docket Entry 66 at 15 (“After completing discovery, Ms. Smith
concurs that the improper behavior is covered by 1692e.”).) As
Defendant maintains (see Docket Entry 59 at 14-15), and Smith
concedes (see Docket Entry 66 at 15), Smith’s Section 1692f claim
should be dismissed in light of her successful Section 1692e claim.
See, e.g., Lembach v. Bierman, 528 F. App’x 297, 304 (4th Cir.
2013) (“[T]he courts use § 1692f to punish conduct that [the] FDCPA
does not specifically cover.     Because the [plaintiffs] rely on
conduct that is covered by § 1692e and do not allege any separate
or distinct conduct to support a § 1692f violation, their claim

                                   61




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     C.   Plaintiffs’ NCDCA Claims

     Finally, as an alternative to their NCCAA claims (see Docket

Entry 39, ¶¶ 129-47), Plaintiffs assert claims under the NCDCA (see

id., ¶¶ 148-73). “[P]rohibit[ing] unfair, deceptive, or fraudulent

practices in the collection of debts,” DIRECTV, Inc. v. Cephas, 294

F. Supp. 2d 760, 763 (M.D.N.C. 2003), the NCDCA applies to any

“[d]ebt collector,” defined as “any person engaging, directly or

indirectly, in debt collection from a consumer except those persons

subject to the provisions of [the NCCAA],” N.C. Gen. Stat. § 75-

50(3) (internal quotation marks omitted).        Because, as discussed

above, Defendant does not qualify as a “‘[c]ollection agency’”

under the NCCAA, N.C. Gen. Stat. § 58-70-15(a), it remains subject

to the strictures of the NCDCA as a debt collector, see N.C. Gen.

Stat. § 75-50(3).

     The NCDCA prohibits attempting to collect a debt “by means of

any unfair threat, coercion, or attempt to coerce,” N.C. Gen. Stat.

§ 75-51, including, inter alia, “[t]hreatening to take any action

not in fact taken in the usual course of business, unless it can be

shown that such threatened action was actually intended to be taken

in the particular case in which the threat was made,” N.C. Gen.




fails for this reason as well.”); Miller v. Trident Asset Mgmt.,
LLC, No. CV 18-2538, 2019 WL 4467036, at *7 (D. Md. Sept. 18, 2019)
(“In addition to the reasons previously stated, summary judgment in
favor of [the d]efendant on the § 1692f claims is also appropriate
because these claims are premised on the same factual allegations
supporting the § 1692e(10) claims.”).

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Stat.   §    75-51(7),   or    “[t]hreatening      to   take    any   action   not

permitted by law,” N.C. Gen. Stat. § 75-51(8).                 The NCDCA further

prohibits     attempting      to   collect   a   debt   “by     any   fraudulent,

deceptive or misleading representation,” N.C. Gen. Stat. § 75-54,39

as well as “by use of any unconscionable means,” N.C. Gen. Stat.

§ 75-55.40    Unsurprisingly given the statutes’ similarities, North

Carolina courts “have found cases construing the parallel federal

statute [the FDCPA] to be particularly instructive, though not

binding,” in interpreting the NCDCA.             Reid v. Ayers, 138 N.C. App.

261, 263, 531 S.E.2d 231, 233 (2000).




     39     As the North Carolina Court of Appeals has explained:

     Under [North Carolina General Statute] § 75–54, unfair
     practices include conduct which is fraudulent, deceptive
     or misleading in debt collection. To prevail on a claim
     for violation of this section, one need not show
     deliberate acts of deceit or bad faith, but must
     nevertheless demonstrate that the act complained of
     possessed the tendency or capacity to mislead, or created
     the likelihood of deception.

Forsyth Mem’l Hosp., Inc. v. Contreras, 107 N.C. App. 611, 614, 421
S.E.2d 167, 169–70 (1992) (internal quotation marks omitted).

     40     According to Plaintiffs:

     While . . . North Carolina courts have not defined
     unconscionability in this context, the Eleventh Circuit
     examined this word in the FDPCA [sic] context and found
     “[t]he   term   []  means   “having   no   conscience”;
     “unscrupulous”; “showing no regard for conscience”;
     “affronting   the  sense   of   justice,  decency,   or
     reasonableness.”

(Docket Entry 66 at 24 (brackets in original) (quoting LeBlanc v.
Unifund CCR Partners, 601 F.3d 1185, 1200 (11th Cir. 2010)).)

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       To bring a claim under the NCDCA, a plaintiff must establish

three threshold requirements:         “First, the obligation owed must be

a   ‘debt’;     second,   the   one   owing       the    obligation     must   be   a

‘consumer’; and third, the one trying to collect the obligation

must be a ‘debt collector.’”          Id., 531 S.E.2d at 233 (citing N.C.

Gen.    Stat.    §   70-50(1)-(3)).41        No    dispute     exists    regarding

Plaintiffs’ satisfaction of these three elements.                     (See, e.g.,

Docket Entry 58 at 23 n.8 (acknowledging that Defendant qualifies

as a debt collector under the NCDCA).)                  However, “once the three

threshold requirements in [S]ection 75–50 are satisfied, a claim

for unfair debt collection practices must then meet the three

generalized requirements found in [S]ection 75–1.1:                (1) an unfair

act (2) in or affecting commerce (3) proximately causing injury.”

Reid, 138 N.C. App. at 266, 531 S.E.2d at 235; see also Ross v.

F.D.I.C., 625 F.3d 808, 817 (4th Cir. 2010) (“In addition to

proving conduct prohibited under the NCDCA, an NCDCA plaintiff must

also meet the three generalized requirements for all []UDTPA


       41   Under the NCDCA:

       (1) “Consumer” means any natural person who has incurred
       a debt or alleged debt for personal, family, household or
       agricultural purposes.

       (2) “Debt” means any obligation owed or due or alleged to
       be owed or due from a consumer.

       (3) “Debt collector” means any person engaging, directly
       or indirectly, in debt collection from a consumer except
       those persons subject to the provisions of [the NCCAA].

N.C. Gen. Stat. § 75-50.

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claims:       (1)   an    unfair   act    (2)   in   or   affecting   commerce

(3)    proximately       causing   injury.”     (internal   quotation    marks

omitted)).42

       Against this backdrop, “Plaintiffs . . . move for summary

judgment as to liability only, for [Defendant’s] violations of

North Carolina’s unfair debt collection laws.” (Docket Entry 51 at

21.) Because Plaintiffs focus the NCDCA argument in the memorandum

in support of their summary judgment motion on whether or not

Defendant committed an action that violated the NCDCA, without

adducing evidence regarding their injuries from such violation (see

id. at 21-26), it appears that they seek summary judgment only as

to the issue of whether Defendant’s actions qualify as a violation

of the NCDCA.       See Celotex, 477 U.S. at 322 (noting necessity of

proving each element of claim on which party bears burden).43



     42 “The determination of whether an act or practice is an
unfair or deceptive practice that violates [Section] 75–1.1 is a
question of law for the court.”      Gray v. North Carolina Ins.
Underwriting Ass’n, 352 N.C. 61, 68, 529 S.E.2d 676, 681 (2000);
accord Forbes v. Par Ten Grp., Inc., 99 N.C. App. 587, 600, 394
S.E.2d 643, 650-51 (1990) (“Whether [the] defendants committed the
alleged acts is a question of fact for the jury and, if so, whether
the proven facts constitute an unfair or deceptive trade practice
is a question of law for the court.” (internal quotation marks
omitted)).

     43 Entitled “Motion for Summary Judgment or Partial Summary
Judgment,” Rule 56(a), as amended in 2010, states that “[a] party
may move for summary judgment, identifying each claim or defense —
or the part of each claim or defense — on which summary judgment is
sought.” Fed. R. Civ. P. 56(a) (certain emphasis added). “Th[is]
first sentence [wa]s added to make clear at the beginning that
summary judgment may be requested not only as to an entire case but
also as to a claim, defense, or part of a claim or defense.” Fed.

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Conversely, Defendant seeks summary judgment on the grounds that

Plaintiffs allegedly failed to establish a violation of the NCDCA

as well as that they allegedly failed to demonstrate that any such


R. Civ. P. 56 advisory committee’s notes, 2010 Amendment
Subdivision (a) (emphasis added). “The subdivision caption adopts
the common phrase ‘partial summary judgment’ to describe
disposition of less than the whole action, whether or not the order
grants all the relief requested by the motion.” Id. “Use of the
word ‘judgment’ itself may be an unfortunate continued use of an
inaccurate term, but the intent of the rule is clear.” Servicios
Especiales Al Comercio Exterior v. Johnson Controls, Inc., 791 F.
Supp. 2d 626, 632 (E.D. Wis. 2011) (“conclud[ing] that [the
plaintiff’s partial summary judgment] motion is not barred because
it has requested disposition of legal issues [namely legal issues
related to agency elements] that make up parts of various claims,
as permitted by Rule 56”); see also Hudak v. Clark, No.
3:16-cv-288, 2018 WL 1785865, at *3 (M.D. Pa. Apr. 13, 2018)
(“Although the use of the word ‘judgment’ may be considered
misleading, or even to be a misnomer, . . . this unfortunate yet
necessary use of the word cannot serve to prevent the entry of
summary judgment on an element of a claim to which [the p]laintiff
is entitled.”). In sum:

     [S]ince 2010, federal courts have repeatedly found that
     they are permitted to consider a motion for summary
     judgment on only a part of a claim.      The procedural
     validity of granting summary judgment on only part of a
     claim is further reinforced by the language of [Rule]
     56(g) which allows that even if a Court does not grant
     all the relief requested in a motion for summary
     judgment, it may still “enter an order stating any
     material fact — including an item of damages or other
     relief — that is not genuinely in dispute and treating
     the fact as established in the case;” thus illustrating
     that Rule 56 contemplates the possibility that summary
     judgment may be entered on less than a full claim and on
     one or fewer than all of the elements necessary to
     establish a claim.

Hudak, 2018 WL 1785865, at *2 (citations omitted); see also id. at
*3 (granting partial summary judgment motion “as to the element of
probable cause” and explaining that “[t]rial in this matter will be
limited to the other elements necessary for [the p]laintiff to
establish his claim and for [the d]efendants to establish any
affirmative defenses they may raise”).

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violation “proximately caus[ed them] injury,” Ross, 625 F.3d at 817

(internal quotation marks omitted).44

     As   to   whether   the   NC   Final   Letters   violate   the   NCDCA,

Defendant largely repackages its FDCPA arguments.               (See Docket

Entry 58 at 23-25; Docket Entry 59 at 19-20; Docket Entry 68 at 20-

22; Docket Entry 74 at 7-8; Docket Entry 75 at 8-9.)                   Those

arguments fail for the reasons discussed in the prior subsection.

In addition, Defendant maintains that Plaintiffs have failed to

identify any threatened action that Defendant could not legally

take or that Defendant did not generally take.          (See Docket Entry

58 at 23-25; Docket Entry 59 at 19-20.)          However, as previously

discussed, the NC Final Letters state, inter alia, that Defendant

will accelerate and may foreclose on a borrower’s property if the

borrower fails to make full payment of the specified Amount Due by


     44    More specifically, Defendant asserts that Plaintiffs
failed to prove a violation of North Carolina General Statute
Section 75-51. (See Docket Entry 58 at 23-25; Docket Entry 59 at
19-20.) Defendant acknowledges that the Second Amended Complaint
also raises claims under Section 75-54 and Section 75-55, but
asserts that “[t]hese statutes contemplate specific acts not
relevant here.” (Docket Entry 58 at 25 n.9; Docket Entry 59 at 20
n.6.)    That assertion lacks merit, as both statutes broadly
prohibit certain conduct, namely attempting to collect a debt “by
any fraudulent, deceptive or misleading representation,” N.C. Gen.
Stat. § 75-54, and “by use of any unconscionable means,” N.C. Gen.
Stat. § 75-55, and merely provide nonexhaustive lists of conduct
that satisfies such criteria. See N.C. Gen. Stat. § 75-54 (“No
debt collector shall collect or attempt to collect a debt or obtain
information concerning a consumer by any fraudulent, deceptive or
misleading representation. Such representations include, but are
not limited to, the following[]. . . .”); N.C. Gen. Stat. § 75-55
(“No debt collector shall collect or attempt to collect any debt by
use of any unconscionable means. Such means include, but are not
limited to, the following[]. . . .”).

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the Expiration Date.        (See Docket Entry 51-4 at 2.)            The specified

Amount Due, however, includes late fees and other charges (see id.

at 4), and Defendant did not accelerate and foreclose for failure

to pay such fees.     (See, e.g., Docket Entry 51-1 at 87-88 (86:3 to

87:3),    99-102   (98:10    to   101:1),    109-15    (108:14       to     114:11).)

Accordingly, the NC Final Letters attempt to collect a debt “by

means of an[] unfair threat,” in violation of North Carolina

General     Statute    Section      75-51.           Further,        the     various

misrepresentations detailed in the prior subsection, including

regarding the impact of a partial payment and the date by which

Defendant could commence acceleration or foreclosure, violate the

NCDCA’s prohibition      on     attempting    to    collect     a   debt     “by   any

fraudulent, deceptive or misleading representation,” N.C. Gen.

Stat. § 75-54, as well as “by use of any unconscionable means,”

N.C. Gen. Stat. § 75-55.

       Notwithstanding      the   foregoing,        Defendant       urges    summary

judgment on the theory that Plaintiffs have not established that

such   violations     injured     them.      More    specifically,          Defendant

maintains that the record does not show (1) an injury caused by

(2) Plaintiffs’ reliance on the NC Final Letters.                     (See, e.g.,

Docket Entry 58 at 23, 25-28; Docket Entry 59 at 20-23.)                     Contrary

to   Defendant’s    contentions,     Plaintiffs’       evidence       suffices     to

survive summary judgment.




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       Under Section 75-1.1, “‘[w]hether there be a causal relation

between the violation of the statute and the injury complained of

is     an    issue    of    fact     for    a        jury   .    .    .    .’”     Ellis   v.

Smith-Broadhurst, Inc., 48 N.C. App. 180, 184, 268 S.E.2d 271, 274

(1980) (ellipsis in original) (finding “a genuine issue of fact

both    as    to     the   alleged    misrepresentations               and   as    to   causal

relationship between the alleged misrepresentations and plaintiff’s

[injury]”).        Accordingly,

            [t]o survive summary judgment, the non-movant must
       bring forth “fact-specific and not merely speculative”
       evidence establishing the cause of her injury. If there
       are multiple possible causes for an injury, the plaintiff
       “must introduce evidence which affords a reasonable basis
       for the conclusion that it is more likely than not that
       the conduct of the defendant was a substantial factor in
       bringing about the result. A mere possibility of such
       causation is not enough.”

Ross, 625 F.3d at 817 (citation omitted).

       In this regard, Defendant contends that Plaintiffs failed to

establish any emotional or economic injury. In particular, relying

on Ross, 625 F.3d 808, Defendant maintains that a party must

provide more than “conclusory testimony” of emotional injury to

survive summary judgment.                  (Docket Entry 58 at 25-26 (urging

summary judgment on the grounds that “Koepplinger did not provide

any medical evidence or any other competent evidence aside from his

self-serving, conclusory testimony” (emphasis in original)); Docket

Entry 59 at 21 (urging summary judgment on the grounds that “Smith

did not       provide      any   medical    evidence            or   any   other   competent


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evidence    aside     from   her   self-serving,     conclusory     testimony”

(emphasis in original)).)          The Court should reject Defendant’s

position on this issue.

     As an initial matter, in Ross, the plaintiff alleged that the

defendant’s    “actions      caused   her    to   suffer    numerous   physical

ailments, including PTSD, sleep apnea, insomnia, ulcers, migraine

headaches, and a narrowing of her esophagus.               However, all of the

physicians who examined or treated [the plaintiff] for these

conditions     have    concluded      that   something      other   than   [the

defendant’s] alleged conduct caused [her] problems or that her

medical conditions were of unknown origin.”                Ross v. Washington

Mut. Bank, 566 F. Supp. 2d 468, 480 (E.D.N.C. 2008) (citation

omitted), aff’d sub nom., Ross v. F.D.I.C., 625 F.3d 808 (4th Cir.

2010).     In addition, the plaintiff in Ross failed to mention the

defendant’s actions on any of her multiple medical visits to any of

her doctors, instead “first mention[ing] the subject on the day

before [the] deposition,” id., of one doctor whom she had seen 21

times previously.       See id.    Thus, although the district court in

Ross recognized that a litigant’s “testimony standing alone could

support an award of compensatory damages,” id. at 480-81, it

concluded that, “[i]n light of the overwhelming, contradictory

medical evidence, [the plaintiff’s] speculation fail[ed] to show

proximate cause under North Carolina law,” id. at 481.




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     The United States Court of Appeals for the Fourth Circuit

affirmed that conclusion, emphasizing that “[n]o physician who has

treated [the plaintiff] has attributed any of her conditions to

[the defendant’s] alleged practices” and that “[the plaintiff]

never mentioned [the defendant’s] debt collection efforts to any of

her doctors, with the lone of exception of [one doctor],” to whom

she had during her 21 previous visits identified other sources of

her ailments.     Ross, 625 F.3d at 818.           “Finding no support in the

medical   testimony,”       the    Fourth      Circuit    explained,     “the   only

evidence [the plaintiff] can bring forth are her own conclusory

statements   concerning       emotional         distress.”       Id.       However,

“[p]resented only with [the plaintiff’s] conclusory assertions, no

reasonable jury could find that [the defendant’s] debt collection

practices    were     the    proximate         cause     of   [the     plaintiff’s]

non-economic injuries.”           Id.

     Here,   by     contrast,      no   such    “overwhelming,       contradictory

medical evidence,” Ross, 566 F. Supp. 2d at 481, exists.                   Further,

contrary to Defendant’s assertions (see, e.g., Docket Entry 58 at

25-26; Docket Entry 59 at 20-21), Plaintiffs provided more than

conclusory testimony regarding their emotional injuries.                         For

instance, Koepplinger testified that, “[t]o [him] it looked like

[he] was losing [his] house if [he] didn’t make that payment by

that date, and it was every time [he] got a letter [he] felt the

same way, and it got so bad, to the point where [he] was very leery



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about getting a padlock on [his] gate when [he] got back home

. . . .”   (Docket Entry 51-7 at 20 (19:19 to 19:24).)           He also

testified that “[he] was living with wondering if there was going

to be a padlock on [his] fence when [he] got home” (id. at 125

(124:6 to 124:8)), and his

     thoughts were is it just they don’t want [his] house yet?
     They can grab it at any time. It just -- [he] was really
     bothered by it; meaning, [he] didn’t trust anything with
     this anymore, and [he] just wanted it to go away.

          And at that point and probably a little bit before
     this, [his fiancé] and [he] were discussing just getting
     another house and leaving this all behind just to get
     these people away because life was very hard with them.
     [He] didn’t trust a damn thing.       [He] didn’t trust
     anything out of anything anymore.

(Id. (124:12 to 124:22).)       He further testified that Defendant

caused him “undue stress” (id. at 135 (134:17)), through “[t]he

default letters, seeing that in black and white; they’re going to

take [his] house, they’re going to take [his] house.           No matter

what [he] do[es], they’re going [to] take [his] house” (id. at 135-

36 (134:23 to 135:1)).      (See also id. at 136 (135:23 to 135:24

(“[I]t was miserable.    It made [him] unhappy.”)).)

     Smith also testified that the NC Final Letters caused her

stress and depression.      For instance, Smith testified that, at

times, she felt so stressed that she wished to see a doctor, which

she could not afford to do without receiving governmental aid that

her pride would not permit her to accept, and that, at those times,

“the worry and the fear was about being foreclosed on” (Docket



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Entry 51-8 at 62 (61:2 to 61:3)).            (See id. at 61-62 (60:2 to

61:3).)   She further testified that “[t]he impact of the letter is

opening up a letter, being depressed because you’re reading a

letter stating that if you do not pay this amount by this date,

that they’re accelerating your loan and foreclosing on -- on your

home, because, yes, then you’re worried now about losing -- losing

your home.”   (Id. at 121 (120:14 to 120:20).)45            By way of final

example, she also testified that, “[w]hen [she] received the

letters, [she] –- [she] felt depressed.         [She] was worried about

[Defendant] foreclosing on –- on -– on [her] home.”               (Id. at 165

(164:18 to 164:20).)

     Moreover, contrary to Defendant’s contentions (see, e.g.,

Docket Entry 58 at 27-28; Docket Entry 59 at 22), the above

testimony   identifies   the    NC   Final   Letters   as   the    source   of

Plaintiffs’ injuries.     (See, e.g., Docket Entry 51-7 at 20 (19:19

to 19:24 (explaining that, “[t]o [Koepplinger,] it looked like [he]

was losing [his] house if [he] didn’t make that payment by that

date, and it was every time [he] got a letter [he] felt the same

way, and it got so bad, to the point where [he] was very leery

about   getting   a   padlock   on   [his]   gate   when    [he]    got   back

home. . . .”)); Docket Entry 51-8 at 121 (120:14 to 120:20 (“The

impact of the letter is opening up a letter, being depressed


     45 According to Smith’s testimony, she understood that, in
regards to a loan, acceleration meant that Defendant was
“[a]ccelerating a loan faster to foreclose on you” (id. at 45
(44:12 to 44:13)). (See id. (44:5 to 44:13).)

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because you’re reading a letter stating that if you do not pay this

amount by this date, that they’re accelerating your loan and

foreclosing on -- on your home, because, yes, then you’re worried

now about losing -- losing your home.”)).)46      Thus, Plaintiffs have

brought   forth   the   “fact-specific   and   not   merely   speculative

evidence establishing the cause of [their] injury,” Ross, 625 F.3d

at 817 (internal quotation marks omitted), required to survive

summary judgment.

     Because Plaintiffs seek only statutory damages (see Docket

Entry 49 at 1 (stipulating that Plaintiffs do not seek actual

damages)) and their NCDCA claims survive summary judgment in light

of their asserted emotional injuries, the issue of economic injury

does not affect resolution of Defendant’s Motions.        However, a few

points bear noting.      First, Defendant offers no support for its

proposition that Plaintiffs must provide documentary evidence to

establish the existence of their asserted injuries.           (See Docket

Entry 58 at 26; Docket Entry 59 at 23.)              Second, Koepplinger

specifically testified that, as a result of the NC Final Letters,



     46 In addition to arguing that the evidence reflects their
detrimental reliance on the NC Final Letters, Plaintiffs assert
that they need not prove detrimental reliance. (See, e.g., Docket
Entry 65 at 28 (“Although claims under [the UDTPA] based upon
misrepresentations require proof of reliance, claims under the
NCDCA do not. . . . All Mr. Koepplinger must demonstrate is that
[Defendant] committed an unfair act (as identified in the NCDCA)
that proximately caused injury.” (emphasis omitted)).) Whatever
the merit of Plaintiffs’ contentions in other contexts, it remains
difficult to see how the NC Final Letters could harm Plaintiffs if
they did not believe (i.e., rely) on them.

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he paid other creditors less money, resulting in higher interest

payments.    (See Docket Entry 51-7 at 131-33 (130:8 to 132:6),

134-35 (133:19 to 134:10).)      Smith likewise testified that, due to

an NC Final Letter, she paid Defendant money to which it lacked

entitlement in 2017, namely taxes (and perhaps insurance) on her

separate property that Defendant mistakenly added to her mortgage

payment.    (See Docket Entry 51-8 at 22-23 (21:16 to 22:20), 27-28

(26:10 to 27:8), 39-40 (38:18 to 39:13), 77-80 (76:13 to 79:7), 153

(152:2 to 152:23).)      She further testified that, but for that NC

Final Letter, she would have, inter alia, promptly paid an attorney

handling her servicing dispute with Defendant rather than “hav[ing]

to let him know that [she] would, you know, get him paid when [she]

could, but it would be later” (id. at 159 (158:19 to 158:21)).

(See id. at 159-60 (158:7 to 159:24).)          Accordingly, Defendant’s

economic-injury arguments fall short.

     In sum, the evidence establishes that the NC Final Letters

violate the prohibitions of the NCDCA.         In addition, accepting the

evidence    as   true   and   drawing    all   reasonable   inferences   in

Plaintiffs’ favor, a reasonable factfinder could find that the NC

Final Letters injured Plaintiffs.        As such, the Court should grant

Plaintiffs’ Motion insofar as it seeks a determination that the NC

Final Letters violate the NCDCA and deny Defendants’ request for

summary judgment on Plaintiffs’ NCDCA claims.




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     III. Class Certification

     Having resolved the Summary Judgment Motions, the analysis now

turns to Plaintiffs’ Certification Motion.            See Krakauer v. Dish

Network,   L.L.C.,   925   F.3d   643,   654   (4th    Cir.)   (“Since   the

requirements of Rule 23 are often ‘enmeshed in the factual and

legal issues comprising the plaintiffs’ cause of action,’ the

district court must rigorously examine the core issues of the case

at the certification stage.” (citation omitted)), cert. denied,

__ U.S. __, 140 S. Ct. 676 (2019).       Whether or not to grant class

certification lies within the Court’s discretion, see Doe v. Chao,

306 F.3d 170, 183 (4th Cir. 2002), aff’d, 540 U.S. 614 (2004), but

Plaintiffs bear the burden of proving that their proposed classes

fit the strictures of Rule 23, see Krakauer, 925 F.3d at 654.             In

this regard, Rule 23 authorizes a member of a class to sue on its

behalf if “(1) the class is so numerous that joinder of all members

is impracticable; (2) there are questions of law or fact common to

the class; (3) the claims or defenses of the representative parties

are typical of the claims or defenses of the class; and (4) the

representative parties will fairly and adequately protect the

interests of the class.”     Fed. R. Civ. P. 23(a).47




     47 The adequacy requirement involves two parts: (1) adequate
counsel must represent the plaintiffs and (2) the plaintiffs must
not possess interests antagonistic to the class. See Woodard v.
Online Info. Servs., 191 F.R.D. 502, 506 (E.D.N.C. 2000).

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     In addition to satisfying these threshold requirements, known

as “numerosity, commonality, typicality, and adequacy,” Plaintiffs

must also satisfy “an implicit threshold requirement that the

members of a proposed class be readily identifiable,” a requirement

“sometimes called ascertainability.”          Krakauer, 925 F.3d at 654-55

(internal   quotation    marks   omitted).       After     satisfying   these

threshold requirements, Plaintiffs must “demonstrat[e] that the

proposed class fits into one of the specific forms of class

adjudication provided by Rule 23(b).          The provision relevant here

is Rule 23(b)(3), which is the common vehicle for ‘mass tort class

actions,’ which seek damages for widespread wrongful conduct.” Id.

at 655 (citation omitted).48        More specifically:

          To obtain certification under [Rule] 23(b)(3), the
     plaintiff must show both that “[1] questions of law and
     fact common to class members predominate over any
     questions affecting only individual class members, and
     [2] that a class action is superior to other available
     methods for fairly and efficiently adjudicating the
     controversy.”   Fed. R. Civ. P. 23(b)(3).      The two
     requirements are unsurprisingly labeled “predominance”
     and “superiority.”

Krakauer,   925   F.3d   at   655    (final   two   sets    of   brackets   in

original).49


     48    Plaintiffs expressly have moved to certify                classes
pursuant to Rule 23(b)(3). (See Docket Entry 52 at 1.)

     49 Rule 23 identifies the following matters as “pertinent to”
this assessment:

     (A) the class       members’ interests in             individually
     controlling the     prosecution or defense            of separate
     actions;


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     Plaintiffs seek to certify two classes, one for their state-

law claims (the “State-Law Class”) and one for their FDCPA claim

(the “FDCPA Class,” and collectively, the “Classes”).         (See Docket

Entry 52 at 1.)    In particular, Plaintiffs propose certifying the

following:

     (1) North Carolina State Law Class:        All consumers
     throughout the State of North Carolina who were sent a
     letter from [Defendant] substantially similar or
     materially identical to the NC Final Letters delivered to
     Plaintiffs.

     (2) FDCPA Sub-Class: All consumers throughout the State
     of North Carolina whose servicing rights were acquired by
     [Defendant] after their loan was in default and who were
     sent a letter from [Defendant] substantially similar or
     materially identical to the NC Final Letter delivered to
     Plaintiffs.

(Id.)50   Defendant challenges the propriety of each class, with a



     (B) the extent and nature of any litigation concerning
     the controversy already begun by or against class
     members;

     (C) the desirability or undesirability of concentrating
     the litigation of the claims in the particular forum; and

     (D) the likely difficulties in managing a class action.

Fed. R. Civ. P. 23(b)(3).

     50   Plaintiffs exclude from the proposed Classes:

     (a) any Judge or Magistrate presiding over this action
     and members of their families; (b) [Defendant] and any
     entity which [Defendant] has a controlling interest or
     which has a controlling interest in [Defendant] and its
     legal representatives, assigns and successors; and
     (c) all persons who properly execute and file a timely
     request for exclusion.

(Docket Entry 53 at 12.)

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particular focus on the State-Law Class.                 (See generally Docket

Entry 69.)     Defendant’s contentions possess merit as to the State-

Law Class, but not as to the FDCPA Class.

       i.   Preliminary Matters

       As an initial matter, Plaintiffs contend, and Defendant does

not    dispute,    both   that    their    Classes     satisfy   the    numerosity

requirement and that their counsel qualifies as adequate.                    (See,

e.g., Docket Entry 53 at 13-14, 17; Docket Entry 69 at 8 (asserting

only that “Plaintiffs fail to (i) demonstrate there are common

questions of law or fact, (ii) show the named Plaintiffs’ claims

are    typical,    and    (iii)    establish      they    are    adequate    class

representatives”).)       A review of the evidence supports Plaintiffs’

contentions.      (See, e.g., Docket Entry 53-9 at 1-17 (identifying

counsel’s experience); Docket Entry 51-1 at 62-64 (61:21 to 63:12

(reflecting       9,300   defaulted       loans   in     relevant      period)).)51

Accordingly, the Court should find that Plaintiffs have satisfied

these two requirements for both Classes.




     51 Although this figure represents all loans that qualified
as defaulted during the relevant period rather just at the time of
Defendant’s acquisition, as the FDCPA requires, “[t]he [C]ourt may
certify a class based on a common sense estimation of the class
size if the precise number of class members is unknown,” Talbott v.
GC Servs. Ltd. P’ship, 191 F.R.D. 99, 102 (W.D. Va. 2000).
Assuming even one percent of these loans qualified as delinquent
when Defendant acquired them, the class would contain nearly one
hundred loans (which may or may not have multiple obligors). Even
that lesser number represents a group sufficiently large to render
“joinder of all members [] impracticable,” Fed. R. Civ. P.
23(a)(1).

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       In addition, as Defendant asserts (see Docket Entry 69 at 24-

25) and Plaintiffs tacitly concede (see Docket Entry 77 at 11), the

FDCPA Class can only encompass individuals whose loans remained in

default at the time Defendant acquired them.                         See 15 U.S.C.

§ 1692a(6)(F)(iii).           Thus, the “after” in Plaintiffs’ proposed

FDCPA Class definition must become “when,” such that it reads:

“All   consumers       throughout     the    State   of    North    Carolina     whose

servicing rights were acquired by [Defendant] when their loan was

in default . . . .”           Moreover, because Koepplinger does not fit

this criteria, he cannot serve as a representative for this class.

See East Tex. Motor Freight Sys. Inc. v. Rodriguez, 431 U.S. 395,

403 (1977) (reversing appellate court’s class certification order

because    “the    trial      court   proceedings         made    clear   that    [the

plaintiffs] were not members of the class of discriminatees they

purported to represent,” explaining that “a class representative

must be part of the class and ‘possess the same interest and suffer

the same injury’ as the class members”).                         Similarly, because

Plaintiffs’ only remaining state-law claims involve the NCDCA, the

State-Law Class remains limited to an NCDCA claim.                    See id.

       ii. FDCPA Class Analysis

       Turning    to    the   FDCPA    Class,     the     evidence    reflects     the

ascertainability of this Class.                  For instance, Defendant has

identified all delinquent North Carolina loans and the contact

information for the relevant obligors, as well as the dates upon


                                            80




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which it sent each NC Final Letter.              (See Docket Entry 53-8 at 8-12

(7:18 to 11:5), 33 (32:14 to 32:22), 56-60 (55:15 to 59:23), 77

(76:2 to 76:7); see also Docket Entry 53 at 13 (contending that

“class       members   are     readily    ascertainable       as   [Defendant]     has

produced a spreadsheet identifying all putative Class Members,

their respective loan numbers, and their contact information”).)

In addition, Defendant can identify which of those loans remained

defaulted as of the time of Defendant’s acquisition by querying its

database.       (See Docket Entry 53-8 at 68-70 (67:12 to 69:15); see

also Docket Entry 51-1 at 57 (56:2 to 56:8 (affirming that one

could determine default status by looking at final data set for

onboarded loans)).)

       Likewise,       Defendant       (through       its   designated    corporate

representatives (see Docket Entry 51-1 at 7 (6:2 (identifying

deposition as a “30(b)(6) oral deposition”)); Docket Entry 53-8 at

8 (7:3 to 7:11 (discussing witness’s role))) conceded that:

       (1) “to determine every customer who was behind at the time

that [Defendant] took over the loans, all we would need to do is

look    at    these    final    data   sets     for   every   portfolio    that    was

transferred . . . and count them up” (Docket Entry 51-1 at 57 (56:2

to 56:8));

       (2) “[Defendant] is able to ascertain the status of a loan at

the    time    that    [Defendant]       acquires     the   servicing    rights”   by

“run[ning] a query [in its database] looking back at the timeframe



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the loan was acquired” (Docket Entry 53-8 at 68 (67:8 to 67:10,

67:15 to 67:16)); and

     (3) Defendant remains “confident that [it] would be able to

ascertain whether or not a borrower had a monthly payment due and

owing at the time [Defendant] acquired the rights” (id. at 70 (69:1

to 69:5)).

     Nonetheless,     Defendant   now    maintains   that   a   file-by-file

review of each borrower’s loan documentation remains necessary to

determine the loan’s status at the time of acquisition.                (See

Docket Entry 69 at 24 (“Plaintiffs have not provided any evidence

that the promissory notes of all putative class members contain the

same definition of ‘default’ to obviate the need for a note-by-note

review   of   the   term.”   (emphasis   in   original)).)      Defendant’s

argument lacks merit.

     First, the testimony in this case reflects that Defendant, and

the mortgage industry generally, looks only to monthly payments to

determine a loan’s status. (See, e.g., Docket Entry 51-1 at 93-102

(92:9 to 101:2), 110-11 (109:2 to 110:4).)             Second, this case

involves only Fannie Mae mortgages and the standardized Fannie Mae

Notes in the record reflect the same definition of default (see

Docket Entry 51-9 at 2, 4, 45; see also Docket Entry 51-1 at 93

(92:11 to 92:14 (testifying that, for Defendant’s customers, “to

satisfy the loan and the mortgage, the deed of trust states the

principal and interest payments or tax -- escrow payments have to


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be paid”))) — a definition that remains consistent throughout

Fannie    Mae’s    “Uniform    Instruments”     used     for    North    Carolina

mortgages, see https://singlefamily.fanniemae.com/legal-documents/

notes (last visited Apr. 29, 2020).           Third, the NC Final Letters

specify    that    the    relevant    loan   qualifies     as    defaulted    for

“fail[ure] to pay the required monthly installments” (see, e.g.,

Docket Entry 51-4 at 4 (“The loan is in default because you have

failed to pay the required monthly installments commencing with the

payment    due    11/01/2015.”).)       Accordingly,      even    if    Defendant

incorrectly deemed a loan defaulted for failure to pay monthly

payments, it would still qualify as a debt collector under the

FDCPA as to that loan.         See Bridge, 681 F.3d at 359-60 & n.4.

Under the circumstances, Smith has satisfied the ascertainability

requirement.

     Smith also satisfies the adequacy and typicality requirements.

Indeed, Defendant does not challenge Smith’s adequacy to represent

the FDCPA Class.         (See Docket Entry 69 at 24-28; cf. id. at 18

(arguing that, as to state-law claims, “Smith is an inadequate

class    representative     because    the   payment   history     presents   an

evidentiary issue impeding her ability to establish reliance”).)

In any event, nothing in the record indicates that Smith possesses

“any interests antagonistic to the class,” Woodard v. Online Info.

Servs., 191 F.R.D. 502, 506 (E.D.N.C. 2000), thereby making her an

adequate representative, see id.



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       Nevertheless, Defendant contends that Smith does not qualify

as    typical.      (See   Docket   Entry   69    at    27-28.)     The   premise

underlying typicality “is simply stated:               as goes the claim of the

named plaintiff, so go the claims of the class.”                    Broussard v.

Meineke Discount Muffler Shops, 155 F.3d 331, 340 (4th Cir. 1998)

(internal quotation marks omitted).           Thus, typicality occurs when

a claim “arises from ‘the same event or practice or course of

conduct’ and ‘similarity of legal theory may control even in the

face of differences of fact.’”         Talbott v. GC Servs. Ltd. P’ship,

191 F.R.D. 99, 104 (W.D. Va. 2000); see also Woodard, 191 F.R.D. at

505    (“The     class   representative     may   satisfy    th[e    typicality]

requirement by demonstrating that his claims arise from the same

practices, and are based on the same theory of law, as the class

claims.”).

       Defendant asserts that “Smith is not typical of the FDCPA

Sub-Class because she admitted that approximately half of the

letters that were sent on her Loan after servicing transferred to

[Defendant] — those addressed to her ex-husband who passed away in

2011 — were never read by anyone.”            (Docket Entry 69 at 27-28.)

That argument misses the mark. Smith (and the proposed class) seek

recovery for the NC Final Letters sent to them, not to any co-

borrowers.     (See, e.g., Docket Entry 39, ¶ 50 (relying on “NC Final

Letters sent to and received by Plaintiff Rhoda Smith”); Docket




                                      84




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Entry 52 at 1 (defining proposed FDCPA Class as North Carolina

consumers “who were sent a[n NC Final L]etter from [Defendant]”).)

     “Here, all class members’ claims are grounded in an identical

practice and legal theory — the mailing of improper debt-collection

letters in violation of the FDCPA.”       Woodard, 191 F.R.D. at 505.

As such, “[t]ypicality is, by definition, inherent in [Smith’s

FDCPA C]lass, i.e., each class member was subjected to the same

FDCPA violation as [Smith] when they were sent the [NC Final

L]etter.    Much like the facts in [Woodard and Talbott], typicality

is satisfied because the named plaintiff’s claim rests on the

theory that [Defendant’s] standard debt collection letter violates

the FDCPA.”    Talbott, 191 F.R.D. at 104 (internal quotation marks

omitted).

     Next, the inquiry turns to the commonality requirement.             To

establish commonality, Smith must “demonstrate that the class

members ‘have suffered the same injury.’”      Dukes, 564 U.S. at 350;

see also id. (explaining that, to establish commonality, class

members’ “claims must depend upon a common contention” and “[t]hat

common contention, moreover, must be of such a nature that it is

capable of classwide resolution — which means that determination of

its truth or falsity will resolve an issue that is central to the

validity of each one of the claims in one stroke”).        In regards to

this requirement, Smith maintains:

     There is no dispute that the NC Final Letters were
     materially identical (and identifiable), and [Defendant]


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     had the common and automatic process of sending those
     letters once loans became 45-60 days delinquent. Here,
     the common issue driving resolution of the litigation is
     whether [Defendant’s] pattern, practice, and policy of
     collecting and/or attempting to collect debt through the
     use of the NC Final Letter constitutes a violation of the
     [FDCPA].

(Docket Entry 53 at 15 (footnotes omitted).) In other words, Smith

argues that this lawsuit presents the common question of whether

Defendant’s use of standardized NC Final Letters violates the

FDCPA.

     Defendant   raises   two   challenges    to   Smith’s   commonality

argument.   First, Defendant asserts that the FDCPA claims require

an individualized assessment of each consumer’s situation and

Defendant’s intentions.     (See Docket Entry 69 at 26 (“Yet as the

Eleventh Circuit recognized in Landeros [v. Pinnacle Recovery,

Inc., 692 F. App’x 608 (11th Cir. 2017)], resolution of whether

the[ NC Final] Letters are false, deceptive, or misleading as to

acceleration or foreclosure will ‘turn on the unique factual

circumstances’ of each consumer’s indebtedness (default status,

payment rejections, payment plans, acceleration, foreclosure, etc.)

and the intentions of [Defendant] as to each consumer (whether

[Defendant] actually intended to accelerate or foreclose based on

that consumers’ factual circumstances).”).)52         As the foregoing



     52 Unlike here, Landeros involved a debt collection letter
with representations regarding reporting to the IRS about
forgiveness of debt associated with foreclosure of a loan, as well
as taxation of such forgiveness. The Eleventh Circuit concluded
that “whether the letter was false or misleading turned on the

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summary judgment analysis details, this contention lacks merit.

Defendant    further    argues   that    “[t]he    determination       of   actual

damages will create unique, individualized issues because each

consumer will have a different reaction and response to the [NC

Final] Letters.”       (Id. at 27.)   However, Smith does not seek actual

damages for the FDCPA Class.          (See, e.g., Docket Entry 53 at 20

(explaining     that     FDCPA   “prescribe[s]         statutory   damages      as

penalties”); see also id. at 21 (“[The] FDCPA Sub-Class damage

calculations rely on a single theory related to the NC Final

Letter. Class Members would be awarded uniform damages because the

[FDCPA]     prescribe[s]     statutory       damages    on   a   per   violation




factual circumstances particular to each recipient,” Landeros, 692
F. App’x at 612, such that the plaintiffs could not satisfy the
Rule 23(b)(3) predominance criteria, see id.      In so doing, the
Eleventh Circuit declined to apply the least sophisticated consumer
standard because, under its precedents, that “standard will not
apply to FDCPA claims in which the consumer’s sophistication is
irrelevant.”    Id. at 613; see also id. (“The merits of the
[plaintiffs’] FDCPA claims do not turn on the sophistication of the
person who read the [defendant’s] letter. Rather, the merits of
the claims depend on the objective factual circumstances unique to
each recipient’s indebtedness. [Defendant’s] statements about debt
forgiveness and the potential tax consequences would violate the
FDCPA because of the fact that [Defendant] did not intend to report
debt forgiveness as to that individual person or because of the
fact that that particular person’s forgiven debt would not be
substantial enough to give rise to taxable income.”). Landeros
lacks applicability to this matter, which (for reasons previously
discussed) involves objectively false statements not dependent on
such factual nuances.

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basis.”).)53     Accordingly, Defendant’s contentions do not preclude

a finding of commonality.

      In this regard, “the existence of common questions of law and

fact is clear.      At issue is whether Defendant’s debt collection

letters, which are admittedly form letters,” violate the FDCPA.

Woodard, 191 F.R.D. at 505.          “Th[is] issue[ is] shared by all class

members, and [is] well-suited to disposal by class action.”                    Id.;

see also id. (“Here, all class members’ claims are grounded in an

identical practice and legal theory — the mailing of improper

debt-collection letters in violation of the FDCPA.”); Talbott, 191

F.R.D. at 103 (“Mailing a standardized collection letter satisfies

commonality and has been the basis for certification in similar

cases.”) (collecting cases).

      Moreover,     the    FDCPA      claim     satisfies       the   predominance

requirement.       See    Talbott,    191     F.R.D.    at   105   (“Here,   common

questions predominate because of the standardized nature of [the

defendant’s] conduct; namely the dunning letter and its FDCPA

violation.”). Indeed, “there are no material issues of law or fact

that are not common to the entire class.               The common material issue

of   fact   is   simply   whether     the     class    member   received     one   of



     53 Indeed, Smith argues that the fact the lawsuit seeks only
statutory damages weighs in favor of finding predominance: “As the
Fourth Circuit recently noted in Krakauer, such statutory damage
awards promote the predominance of common issues by ‘preventing the
need to measure individual compensatory damages.’” (Id. at 22-23
(emphasis in original) (quoting Krakauer, 925 F.3d at 658).)

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Defendant’s [NC Final L]etters, all of which contained the language

in question, during the relevant time period.” Woodard, 191 F.R.D.

at 507.        Whether the language in the NC Final Letter violated

Section 1692e of the FDCPA serves as the “common material issue[]

of law.”       Id.    “No other significant issues exist, other than the

simple tallying of who falls within the class and who falls

outside.”       Id.

       Finally, although Defendant does not contest this element for

the    FDCPA    Class    (see   Docket   Entry   69   at   24-28),   Smith   also

satisfies the superiority requirement.            As this Court explained in

a similar consumer-protection lawsuit:

            A class action is the superior method of litigation
       in this case. Given the relatively small statutory
       damages, see [15 U.S.C. §1692k], the class members likely
       have little interest in controlling the litigation in
       this case. See Fed. R. Civ. P. 23(b)(3)(A); Gunnells [v.
       Healthplan Servs., Inc.], 348 F.3d [417,] 425 [(4th Cir.
       2003)]; see also Amchem Prods., Inc. v. Windsor, 521 U.S.
       591, 616–17 (1997); In re Warfarin Sodium Antitrust
       Litig., 391 F.3d 516, 533–34 (3d Cir. 2004). Further,
       the type of injury allegedly suffered by the class
       members is not, for example, a personal injury or death
       where a plaintiff would ordinarily have “a substantial
       stake in making individual decisions on whether and when
       to settle.” Amchem, 521 U.S. at 616.

            There is no evidence of any litigation begun by or
       against any class members, see Fed. R. Civ. P.
       23(b)(3)(B); Gregory v. Finova Capital Corp., 442 F.3d
       188, 191–92 (4th Cir. 2006), and given the large number
       of class members and claims, class-wide adjudication of
       the claims would be more efficient. See Gunnells, 348
       F.3d at 432–33; Warfarin, 391 F.3d at 533–34.
       Adjudicating these claims in one forum would provide
       flexibility, control, and consistency that would not
       exist with individual litigation. See Fed. R. Civ. P.
       23(b)(3)(C); Gunnells, 348 F.3d at 425.        And, as

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      discussed supra, . . . individual issues do not present
      great difficulties in managing the class. See Fed. R.
      Civ. P. 23(b)(3)(D).

           The Supreme Court has noted that, through Rule
      23(b)(3), “the Advisory Committee sought to cover cases
      in which a class action would achieve economies of time,
      effort, and expense, and promote uniformity of decision
      as to persons similarly situated, without sacrificing
      procedural fairness or bringing about other undesirable
      results.” Amchem, 521 U.S. at 615 (internal quotation
      marks and ellipsis omitted).    Class-wide adjudication
      would achieve each of these goals.

Krakauer v. Dish Network L.L.C., 311 F.R.D. 384, 400 (M.D.N.C.

2015) (parallel citations omitted), aff’d, 925 F.3d 643 (4th Cir.

2019).

      The Court should therefore grant Smith’s request to certify

the FDCPA Class, defined as:          “All consumers throughout the State

of   North   Carolina    whose    servicing     rights    were    acquired   by

[Defendant] when their loan was in default and who were sent a

letter    from   [Defendant]     substantially     similar   or    materially

identical to the NC Final Letter delivered to Plaintiffs.”

      iii. State-Law Class

      However, the same result does not follow for Plaintiffs’

State-Law Class.      As discussed, to succeed on an NCDCA claim, a

plaintiff     must    establish       that   the   defendant’s       violation

“proximately caus[ed him] injury.” Reid, 138 N.C. App. at 266, 531

S.E.2d at 235.      Defendant maintains that the Court may not certify

this class because of “the unique issues related to each putative

class    member’s    reliance    or   injury”   (Docket   Entry    69   at   7).


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Plaintiffs respond that the NCDCA does not require reliance and

that, in any event, (1) they “demonstrated ‘reliance,’” (2) “North

Carolina   law   contradicts   [Defendant’s]     claim   that     reliance

precludes certification,” and (3) the North Carolina Supreme Court

“recognizes reliance can be proved circumstantially.”              (Docket

Entry 77 at 4; see also id. at 3.)

     As noted above, it remains unclear how the NC Final Letters

could proximately cause an individual injury if the individual did

not believe, i.e., rely, on the letter’s statements.            Plaintiffs

fail to offer any insights into that issue.        (See Docket Entries

53, 77; see also Docket Entries 65, 66, 73.)         They also have not

explained how they propose to circumstantially prove that the

putative class members relied on the NC Final Letters. (See Docket

Entries 53, 77.)   Although the NCDCA provides for a per violation

statutory damages award,54 that provision does not negate the



     54 Defendant’s contention that the NCDCA imposes a $4,000 cap
per lawsuit rather than per violation (see Docket Entry 69 at 22-
23) lacks merit. As an initial matter, it bears noting that the
decision upon which Defendant relies for this proposition (see id.
at 23 n.10 (citing “Ross, 566 F. Supp. 2d at 468”)) misconstrued
the decision upon which it relied. More specifically, it states
that an earlier version of “section 75–56 imposes a cap on damages
for a violation of the NCDCA, and does not impose a per violation
penalty. See, e.g., Holloway v. Wachovia Bank & Trust Co., 339
N.C. 338, 342 & n. 2, 452 S.E.2d 233, 235 & n. 2 (1994).” Ross,
566 F. Supp. 2d at 483. Holloway involved a single violation of
the NCDCA, and noted that the jury awarded the plaintiff $1,000 for
that “‘unfair act of debt collection’ in violation of the [NCDCA],”
which the North Carolina Supreme Court described as “the maximum
penalty then allowed by th[e NCDCA],” id. at 342, 452 S.E.2d at
235. See id. at 343-44, 452 S.E.2d at 235-36. Second, and more
importantly, the relevant statute here clearly provides for

                                   91




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necessity of establishing that the NC Final Letters caused each

class member injury.     (Cf. Docket Entry 77 at 10 (“Calculating

damages here is as straightforward as in [Krakauer] — simply

multiply the number of Letters by a per violation penalty.          Class

members who received more Letters will receive more damages.”

(emphasis in original)).)55

     Further, given the parties’ dispute regarding Plaintiffs’

injuries, the Court cannot conclude that, qualitatively, the NCDCA

liability issues “far exceed in complexity,” Gunnells, 348 F.3d at

429 (internal quotation marks omitted), the injury issue.                The

putative class involves at least 9,300 members who received at



statutory damages on a per violation basis.        In this regard, the
current version of the NCDCA states:

     Any debt collector who fails to comply with any provision
     of th[e NCDCA] with respect to any person is liable to
     such person in a private action in an amount equal to the
     sum of (i) any actual damage sustained by such person as
     a result of such failure and (ii) civil penalties the
     court may allow, but not less than five hundred dollars
     ($500.00) nor greater than four thousand dollars ($4,000)
     for each violation.

N.C. Gen. Stat. § 75-56(b) (emphasis added).     Section 75-56(d)
merely prohibits, in a private action, the trebling of such
penalties under North Carolina General Statute Section 75-16.

     55   This situation differs from the one in Gunnells, upon
which Plaintiffs rely (see, e.g., Docket Entry 77 at 3-4), as that
case involved the question of whether the plan administrator’s
actions caused the collapse of a health care plan, which collapse
injured the putative class members, see Gunnells, 348 F.3d at 421-
22.   In Gunnells, the common question existed of whether the
defendant’s actions caused one specific event, see id. at 428-29,
whereas here, the question remains whether thousands of letters
injured thousands of individuals.

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least 66,218, and maybe as many as 150,000, NC Final Letters during

the relevant time period.     (See Docket Entry 53-8 at 56-59 (55:15

to 58:12), 73-75 (72:24 to 74:17).)           In the absence of any

explanation from Plaintiffs regarding how they can manageably

establish these thousands of individual issues, Plaintiffs cannot

show that the common question of Defendant’s liability under the

NCDCA predominates.

     Accordingly, the Court should decline to certify Plaintiffs’

State-Law     Class.   See,   e.g.,     Broussard,   155    F.3d   at    342

(“agree[ing] that because reliance ‘must be applied with factual

precision,’ [the] plaintiffs’ fraud and negligent misrepresentation

claims do not provide ‘a suitable basis for class-wide relief’”).

                              CONCLUSION

     Defendant solicits delinquent claims solely from Fannie Mae,

precluding Plaintiffs’ NCCAA claims. Plaintiffs agree to dismissal

of their UDTPA claims, which in any event fail as a matter of law.

Defendant did not acquire Koepplinger’s mortgage while in a state

of default and thus the debtor exception precludes Koepplinger’s

FDCPA claim.     The record establishes that the NC Final Letters

violate the FDCPA and the NCDCA’s prohibitions.            In addition, a

reasonable factfinder could find that the NC Final Letters injured

Plaintiffs.    Finally, Smith has shown the propriety of certifying

the FDCPA Class, but Plaintiffs have not shown that common issues

predominate for their proposed State-Law Class.


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     IT IS THEREFORE RECOMMENDED that the Summary Judgment Motions

(Docket Entries 50, 54, 55) be granted in part and denied in part

as follows:      (1) summary judgment be granted to Defendant on

Plaintiffs’ NCCAA and UDTPA claims; (2) summary judgment be granted

to Defendant on Koepplinger’s FDCPA claim; (3) summary judgment be

granted to Smith on her FDCPA claim; and (4) summary judgment be

granted to Plaintiffs on the issue of whether the NC Final Letters

violate the NCDCA.

     IT   IS   FURTHER   RECOMMENDED    that   the   Certification   Motion

(Docket Entry 52) be granted in part and denied in part as follows:

an FDCPA Class consisting of “all consumers throughout the State of

North Carolina whose servicing rights were acquired by Defendant

when their loan was in default and who were sent a letter from

Defendant substantially similar or materially identical to the NC

Final Letter delivered to Plaintiffs” be certified with Smith as

the named plaintiff.

     This 29th day of April, 2020.

                                           /s/ L. Patrick Auld
                                              L. Patrick Auld
                                       United States Magistrate Judge




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